Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 1 of 126




                     EXHIBIT 1

TO ALARFAJ EXPERT OPINION
Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 2 of 126




                                        Public Investment
                                        Fund Program
                                        2021-2025
            Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 3 of 126




1   ...w• e." Public Investment
              Fund Program                                              2021 - 2025
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 4 of 126




2021 - 2025                                                          Public Investment
                                                                .4:* Fund Program
                                                                                         2
    Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 5 of 126




             We are endeavoring to build a solid economy based on
             strong fundamentals that will diversify our sources of
                  income and unlock growth in our reserves


                 The Custodian of the Two Holy Mosques
                  King Salman bin Abdulaziz Al Saud




3                                                                2021 - 2025
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 6 of 126




          PIF is evolving into a primary driver of Saudi economic
              growth. We have doubled its scope and we will
          continue with steady steps towards realizing its Vision
                               2030 objectives


                     His Royal Highness
       Mohammed bin Salman bin Abdulaziz Al Saud
            Crown Prince, Deputy Prime Minister
 Chairman of the Council of Economic and Development Aﬀairs
           Chairman of the Public Investment Fund




2021 - 2025                                                               4
                Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 7 of 126




Table of Contents
Investing with a Vision--------------------------------------------------------------------------------------------------7

In Line with Vision 2030 -------------------------------------------------------------------------------------------------------------------8
About PIF------------------------------------------------------------------------------------------------------------------------------------- 10
About PIF Program------------------------------------------------------------------------------------------------------------------------- 12
PIF Purpose---------------------------------------------------------------------------------------------------------------------------------- 14
Investing for Our Nation------------------------------------------------------------------------------------------------------------------ 16



Years of Transformation in Investment--------------------------------------------------------------------------- 17

Where We Are Today----------------------------------------------------------------------------------------------------------------------- 18
Success and Milestones------------------------------------------------------------------------------------------------------------------- 19



Five Years Ahead in an Ambitious Journey----------------------------------------------------------------------- 39

Strategic Pillars ----------------------------------------------------------------------------------------------------------------------------- 40
Aspirations----------------------------------------------------------------------------------------------------------------------------------- 49
Targets and Metrics------------------------------------------------------------------------------------------------------------------------- 50
Investment Pools --------------------------------------------------------------------------------------------------------------------------- 52
Sources of Funding ------------------------------------------------------------------------------------------------------------------------ 55
Governance and Operations------------------------------------------------------------------------------------------------------------- 56




5                                                                                                                            2021 - 2025
           Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 8 of 126




PIF Initiatives, a Future Made Through Investment---------------------------------------------------------- 61

Initiatives Portfolio------------------------------------------------------------------------------------------------------------------------- 62
List of Initiatives----------------------------------------------------------------------------------------------------------------------------- 63
Initiatives Details--------------------------------------------------------------------------------------------------------------------------- 66



An Inspiring Blueprint----------------------------------------------------------------------------------------------- 101

Optimum Use of the Kingdom’s Resources ----------------------------------------------------------------------------------------- 102
Value for People -------------------------------------------------------------------------------------------------------------------------- 103
Investing In The Future ----------------------------------------------------------------------------------------------------------------- 104
Glossary ------------------------------------------------------------------------------------------------------------------------------------ 105
Disclaimer---------------------------------------------------------------------------------------------------------------------------------- 106
References--------------------------------------------------------------------------------------------------------------------------------- 108




  2021 - 2025                                                                                                                                         6
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 9 of 126




Chapter One
Investing with a Vision




7                                                                2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 10 of 126




01
In Line with Vision 2030
As a catalyst for Vision 2030, Saudi Arabia’s transformation blueprint, PIF Program endeavors to support PIF’s efforts
that are not only confined to uncovering new growth potentials for the Kingdom by investing in International
financially viable projects. Rather, it plays a pivotal role locally, by investing in local projects that will support the
advancement of Saudi Arabia’s priority sectors. Such measures will unfold new opportunities for non-oil GDP
growth, generate more jobs, increase local content, empower a thriving private sector, improve quality of life, and
solidify the Kingdom’s leadership position.

In line with 2030 vision, in its second edition (2021-2025) will continue its endeavor as one of the Vision
Realization Programs (VRPs) to achieve its objectives and contribute in diversifying the kingdom’s economy,
cultivate new sectors and leading towards vibrant society, thriving economy and ambitious nation.




 2021 - 2025                                                                                                             8
           Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 11 of 126




                            Vision 2030 Direct Objectives of PIF Program

                                                      Level 1
                                      Strengthen Islamic Values & National Identity
       A Vibrant Society
                                      Offer a Fulfilling & Healthy Life

                                      Grow & Diversify the Economy
     A Thriving Economy
                                      Increase Employment

                                      Enhance Government Effectiveness
     An Ambitious Nation
                                      Enable Social Responsibility


                                                      Level 2
    Grow Contribution of the Private Sector to the Economy

    Maximize Value Captured from the Energy Sector

    Unlock Potential of Non-Oil Sectors

    Grow the Public Investment Fund’s Assets and Role as a Growth Engine

    Position Saudi Arabia as a Global Logistic Hub

    Further Integrate Saudi Economy Regionally & Globally

    Grow Non-Oil Exports


                                                      Level 3
    Grow the Assets of the Public Investment Fund

    Unlock New Sectors through the Public Investment Fund

    Localize Cutting-Edge Technology & Knowledge through the Public Investment Fund

    Build Strategic Economic Partnerships through the Public Investment Fund




9                                                                                     2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 12 of 126




02
About PIF
PIF History and Context


The Public Investment Fund is considered Saudi Arabia’s Sovereign Wealth Fund, a pivotal factor in achieving the
Kingdom’s Vision 2030, and a leading economic catalyst.

With PIF at the heart of Saudi Arabia’s rapid transformation, the Royal Decree No. M/62 in 2014 came to broaden
the scope of PIF’s activities, granting consent to establish new companies both nationally and internationally
without requiring the Council of Ministers’ approval, whether independently or through public and private sector
cooperation.

As a leading economic catalyst for the Kingdom, PIF has created several national private-sector champions, funded
key projects and companies, and provided financial support to initiatives of strategic importance to the national
economy, with the impact felt well beyond Saudi borders.

Today, PIF remains one of the top-tier sovereign wealth funds in the world. Such success was epitomized by the
Kingdom’s active presence within the G20, delivering many breakthroughs in strategic investment operations,
acquisition deals, infrastructure, and establishing strategic partnerships. These significant achievements came to
resonate with Vision 2030’s mission, programs and initiatives to spark a change fueled by a robust, reliable and
stable economic arm. PIF plays a vital strategic role in realizing Vision 2030’s objectives to drive Saudi Arabia’s
economic transformation for a flourishing future.

Success and Future
PIF is Saudi Arabia’s sovereign wealth fund and among the largest SWFs globally based on the large leaps it has
made at the local and global economic levels. This was accomplished through several large investment projects that
have contributed to advancing the national economic transformation and deepening the concept of sustainable
positive change in the context of global investment efforts.

As a responsible and significant investor with a pivotal role in realizing Vision 2030, PIF holds itself to the highest
global standards of governance while adjusting to a fast-changing worldwide economy and remaining as a
supporter of creative organizations. PIF aims to be the investment partner of choice for global opportunities, and
enable the economic development and diversification of the Saudi economy.


 2021 - 2025                                                                                                         10
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 13 of 126




 In Line with Vision 2030
 In a stepping-stone that transformed PIF into an investment powerhouse, the Council of Ministers issued
 Resolution No. 270 in 2015, transferring oversight of PIF from the Ministry of Finance to the Council of Economic
 and Development Affairs (CEDA). Accordingly, PIF’s Board of Directors was reconstituted with the Chairman of
 CEDA becoming PIF’s Chairman. In 2017, PIF’s Program first version was launched blaze the path for Vision 2030
 realization.

 This change denotes a significant institutional change for PIF. With its mandate broadened, PIF is now tasked
 with a vital and specific strategic role within Vision 2030 to lead the charge in building a national economic
 transformation for positive, sustainable change in Saudi Arabia. PIF supports the development of the local
 economy, endeavors to expand its portfolio of international assets, and aims at maximizing sustainable returns
 for the national economy.


                                                                               1971
                                                                       PIF established



                                 2015
                                 Oversight of PIF transferred from the
                                 Ministry of Finance to CEDA



                                                                               2017
                                                PIF Program (2018-2020) launched




                                 2021
                                 Second Version of PIF Program (2021-2025)
                                 launched



11                                                                                               2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 14 of 126




03
About PIF Program
PIF Vision Realization Program (VRP) was launched by CEDA in 2017 as part of an integrated programs to achieve
the Kingdom’s Vision 2030, and to work in joined forces with other VRPs to contribute to the Kingdom’s economic
social growth, further its global position, and uncover its pioneering investment power.

PIF VRP is directly mandated to realize the Vision’s second pillar “Thriving Economy”. During the first edition of
the program (2018-2020), PIF contributed in achieving tangible impact at the investment and economic levels,
transforming mindsets, international performance, planning and implementation.

PIF has come a long way since its beginning, achieving many of its ambitious investments and institutional plans,
and now is ready for the next stage of growth by setting its policies, strategies, plans and vision for the coming
years (2021-2025) through identifying its main objectives on the local and international investments levels. PIF
aims to act as an economic diversification engine, developing strategic sectors and solid economic partnerships
that deepen the Kingdom’s regional and global influence.

PIF Program will continue to fulfill the objectives directly assigned to PIF to achieve:

Direct Objectives




             1                            2                           3                            4
      Grow the Assets of          Unlock New Sectors             Build Strategic            Localize Cutting-
    the Public Investment          through the Public        Economic Partnerships        Edge Technology and
            Fund                    Investment Fund            through the Public          Knowledge through
                                                                Investment Fund           the Public Investment
                                                                                                  Fund




 2021 - 2025                                                                                                      12
            Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 15 of 126




 04
 PIF Purpose
 We started by defining our Purpose Principles, by asking ourselves “Who is the Public Investment Fund at its
 best?” The four Purpose Principles that best capture PIF’s core and which helped shape the PIF Purpose are:

                              Champion Tomorrow
                              When we go to work, we carry with us the dreams of future generations. We embrace
                              the responsibility and honor of serving a worthy mission. Through bold, broad,
                              and wise investment we honor our proud Saudi heritage and grow our Kingdom’s
                              prosperity. By expanding our people’s opportunities, we enable a brighter tomorrow
                              for our children

                                               Innovate Boldly
                                               We are the drivers of change. We are doers of what has never
                                               been done. As pioneers, we transform our passion and pride into
                                               performance, our restlessness into results. Our work fuel profit to
                                               reinvent industries, accelerate innovation, and make possible the
                                               transformation of the Saudi economy


                              Cultivate Connection
                              As investors, we are connectors. We foster relationships to unlock the Kingdom’s
                              true potential and pursue the world’s most promising opportunities. As stewards of
                              precious financial and human capital, we cultivate a vital network of collaboration.
                              Through carefully selected partnerships, we co-create a strong financial foundation
                              and flourishing culture for the Kingdom

                                               Inspire the World
                                               We are a force for good. Our decisions have the potential to improve
                                               the quality of life around the globe. Emboldened by a shared vision,
                                               we make deals that develop sectors and advance progress. Our
                                               ambition is broad and our strength runs deep. We capitalize on
                                               opportunities at grand scale and take our place on the world stage
                                               as creators of genuine value


13                                                                                                2021 - 2025
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 16 of 126




              PIF’ has defined a purpose that stems from a local standpoint and expands
              to reach the global level. This purpose serves as a beacon that guides PIF’s
                                 vision, strategy and mission, which is:



“Elevate the Kingdom..
   Uplift the World”




2021 - 2025                                                                                  14
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 17 of 126




 05
 Investing for Our Nation
 Since its inception, PIF has played a pioneering role in advancing the Saudi economic transformation, diversifying
 its sources and shaping the future of the global economy.
 As the Kingdom’s primary investment arm, PIF collaborates with top-tier international
 investment entities to obtain tremendous financial returns and long-term stable value.

 PIF remains a major investment force and enabling player, the PIF Program came as
 one of Vision 2030 VRPs that endeavors to build a diversified investment portfolio,
 empower promising sectors, invest in innovative companies in the world and build
 partnerships that push the Kingdom to lead the world economically.




15                                                                                                 2021 - 2025
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 18 of 126




Chapter Two
Years of Transformation in Investment




2021 - 2025                                                                16
            Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 19 of 126




 01
 Where We Are Today
 During the course of its initial program (2018-2020), PIF’s performance was exceptional despite many shifts,
 disruptive circumstances and challenges. PIF delivered tremendous impact locally & Internationally by creating
 jobs directly and indirectly. At the institutional level, PIF launched a number of initiatives, established new
 departments, and developed an ambitious plan for its executives from all departments and experts in various
 fields.

 At the institutional level, PIF launched several initiatives, established new departments, and developed an
 ambitious plan that comprised executives from all departments and experts in various fields.

 Building on PIF’s Initial Program (2018-2020) momentum, 2021 represents another milestone in the development
 journey that aims to invest in promising sectors, unlock their growth potential and maximize sustainable returns
 for the national economy.




17                                                                                               2021 - 2025
       Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 20 of 126




02
Success and Milestones
PIF has garnered outstanding achievements since its transformation in line with Vision 2030 and transferring
its oversight to the Council of Economic and Developmental Affairs in 2015. Between 2018 - 2020, the Program
has surmounted many challenges and contributed to achieving a clear impact locally and globally. Key examples
include:
                              Assets under management increased nearly threefold at the end of 2020
                              amounting to around SAR 1.5 trillion.
                              Growth in Assets under Management:
                                                                                               ~1,500
                                                                                                   bn
                                                                                      1,208       SAR
                                                                              972       bn
                                                                                        SAR
                                                               835             bn
                                                                              SAR
                                                720             bn
                                                                SAR
                                 570
                                  bn
                                                 bn
                                                 SAR
                                  SAR



         At the
      Investment                 2015           2016           2017           2018     2019      2020
       Portfolio
         Level                PIF’s Total Shareholder Returns have increased significantly:


                              Total Shareholder Return:

                                     2014 - 2016                       3%


                                     2018 - 2020                                                        8%

                              - All numbers are preliminary and not audited


 2021 - 2025                                                                                                 18
               Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 21 of 126




                                                   At the Local Level

 PIF has established more than 30 companies across 10 strategic sectors to grow PIF assets by unlocking new
 sector to diversify Saudi Arabia’s economy, localize, and invest in promising sectors. These steps were vital in
 generating more than 331,000 direct and indirect job opportunities. The most prominent PIF achievements
 at the local level are as follows:




 NEOM
 NEOM developed its strategy in 2017, with the company established in 2019 on the Red Sea in Its strategy revolves around
 developing 16 diverse sectors: Energy, Water, Mobility, Biotech, Food, Manufacturing, Media, Entertainment Culture and
 Fashion, Technology and Digital, Tourism, Sport, Design and Construction, Services, Health and Well-Being, Education, and
 Livability.
 NEOM has its own airport. Moreover, it is in the process of building an environmentally friendly hydrogen production
 facility, providing sustainable solutions to the global transport sector, and addressing the challenges of climate change
 through practical solutions that reduce carbon emissions.
 NEOM landscape is one of a kind. It is hospitable to integrated renewable energy systems that rely 100% on renewable
 energy sources such as sun and wind, and produces clean fuels like green hydrogen. In 2020, the company’s headquarters
 moved from Riyadh to NEOM, and more than 450 employees relocated to live and work in the company’s main village.
 NEOM is distinguished by a unique design and infrastructure built from scratch that supports development and
 improvement in the surrounding environment. NEOM launched its first phase to build a 5G based infrastructure while
 signing an agreement with Bechtel International to develop the infrastructure for the NEOM project.
 At the beginning of 2021, HRH Prince Mohammed bin Salman Al Saud, Crown Prince and NEOM Chairman of the Board
 of Directors, announced “The Line” project. The first of the mega-development projects, it brings to life to a dream city with
 a length of 170 km. “The Line” strives to foster an attractive environment for inventors, entrepreneurs, and investors, with
 a future vision centered on people and nature, and a city unmatched in any of the global smart cities. Everyday life will be
 seamless through invisible AI-enabled infrastructure. The Line will have:
     • Zero automobile community that preserves 95% of the natural environment.
     • The longest journey on The Line will never be more than 20 minutes, via an ultra-high-speed transit system.
     • A project completely powered by clean energy.
     • Everything needed for daily life will be just a 5-minute walk away.




19                                                                                                           2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 22 of 126




The Red Sea Development Company
A luxurious experience in the tourism sector that combines nature, culture and adventure, the Red Sea Project will enhance the
Kingdom’s position within the global tourism landscape and provide an array of opportunities for companies to be part of one
of the world’s fastest growing tourism markets.
The Custodian of the Two Holy Mosques approved the Red Sea project masterplan in December 2018. Moreover, a partnership
was signed with the Helicopter Company to secure emergency medical services during the construction phase, in addition to a
Public-Private Partnership (PPP) agreement with ACWA Power, one of top-tier companies in its field, to build the infrastructure
for water services and sewage treatment, solar and wind energy generation, and construct the largest battery storage station in
the world, in addition to building a cooling plant.




Qiddiya Investment Company
In April 2018, the Custodian of the Two Holy Mosques and HRH the Crown Prince launched Qiddiya, as one of the Saudi Giga-
projects. It aims to make Qiddiya the capital of entertainment, sports, and arts in the Kingdom – an integrated destination that
provides unmatched experiences.
The company’s vision is to develop a creative destination that is internationally recognized as a unique combination of the most
innovative experiences and establish distinctive buildings to host these activities.
Qiddiya operates on a large scale with local companies to build infrastructure, roads, bridges, site security, and other support
operations. Several contracts have been signed to start infrastructure construction work, including a contract to implement
roads and bridges for the Lower Mountain region with a value exceeding SAR 600 million. In addition to tendering for the
construction of roads at the top of the project site, which is estimated at SAR 1.1 billion, the company awarded 10 construction
worth SAR 2 billion contracts to local companies. Further, the Qiddiya master plan project has kick-started with the first phase
scheduled to open in 2023. It will include more than 60 projects and more than 300 activities bringing life to creativity, arts,
hospitality, culture, entertainment, and sports.
The second and subsequent phases to expand Qiddiya’s offerings and increase project capacity is already planned to enable
sustainable growth and ensure high turnaround.
Furthermore, there are plans to link the project to Riyadh Airport via the metro and other public transport. The company focuses
on ensuring effective waste management by reducing waste in the first place, reusing and recycling waste, and increasing
biodiversity in Qiddiya lands, while promoting optimal use of water resources by reducing consumption, using water efficiently,
and creating a pleasant outdoor climate to help pedestrians.



  2021 - 2025                                                                                                                 20
               Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 23 of 126




 ROSHN Real Estate
 A PIF portfolio company and a national real estate developer, ROSHN is dedicated to developing modern and aspirational
 communities for the people of Saudi Arabia.
 The company is working to leverage available opportunities in the real estate market stemming from evolving demand for the
 housing sector in the Kingdom while supporting Government efforts to increase the homeownership rate to 70% in line with
 Vision 2030 and PIF objectives.
 ROSHN will develop modernized and integrated residential neighborhoods in four regions and more than nine major cities.
 These neighborhoods will unlock new growth potentials for local content through strategic partnerships with local and global
 institutions to enhance the growth of Kingdom’s real estate sector.
 In a short span, since its inception in mid-August 2020, ROSHN announced its first residential neighborhoods in Riyadh, spread
 over an area of more than 20 million square meters and more than 30,000 housing units -- the first milestone in a plan to develop
 communities and residential neighborhoods across the Kingdom over the next ten years to meet society’s aspirations. The
 company awarded contracts worth SAR 1.6 billion to a number of local and international companies to commence the first phase
 of its first district in Riyadh, which includes construction and development such as earthworks, a sales center, and other enabling
 operations like site supervision and other necessary equipment selection. Off-plan sales are expected to be available in 2021.




 AMAALA Company
 The company was established to develop and manage AMAALA resorts on the Red Sea, as a super-luxury tourist destination
 specialized in rehabilitation, health and treatment; and placed among the best luxury tourist destinations.
 AMAALA revealed the design of its international airport, applying a set of unique design practices inspired by its location and
 its picturesque desert nature. The airport is scheduled to be completed in 2023, and is expected to receive about one million
 visitors when it is officially opened.
 The company also announced the awarding of a design and construction contract for the first phase of the residential workers’
 village in AMAALA to a specialized local company. The contract also includes the second and third phases of civil works and
 the village’s infrastructure, and is in line with Amaala’s sustainability objectives. The workers’ residential village relies on off-site
 manufacturing methods and standard building techniques, which will reduce the environmental impact of manufacturing and
 installation processes in the village. Such an approach will help speed up delivery and ensure the best quality.
 Sustainability is the cornerstone of Amaala’s progress. The company is committed to net-zero carbon dioxide emissions and
 implementing more than a dozen sustainability standards covering everything from the use of all-solar energy to waste
 management and recycling.


21                                                                                                                    2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 24 of 126




King Abdullah Financial District (KAFD) Development & Management Company
KAFD Development and Management Company was established in April 2018 to expedite the pace of development in an area
of 1.6 million sqm. KAFD comprises more than 70 towers, office, residential, and hotel buildings of the highest international
standards, the largest of which is the 380-meter PIF Tower, with 77 floors. This is an iconic and unique spot in the Kingdom.
KAFD is a vibrant business, which provides areas designated for cultural and entertainment activities, including cinemas,
theatrical performances, and entertainment events.




Elm Information Security Company
Elm Information Security Company was established in June 1988 and then transformed into a joint-stock company owned by
PIF in November 2007. The company offers an array of technological solutions, e-products, and consulting services, in addition
to solutions for digital outsourcing, and provides training courses for its clients from the public and private sectors.
Elm’s robust human resource base, across 13 sectors, provides innovative and customized solutions and products to public and
private sectors clients in various fields like general government services for individuals and companies such as public services
for the Ministry of Interior, municipalities, labor, and social development, in addition to healthcare, financial, real estate,
transportation, Hajj, and law sectors. Such solutions can transform the daily lives of millions of Saudis and expatriates alike.
One of these products is the “Absher” platform from the Ministry of Interior. Absher is an integrated digital platform that allows
citizens, residents, and business owners to conclude more than 160 interactive electronic operations, in addition to many other
vital services: Muqeem, Yakeen, Umrah, Tamm, health insurance link, and others.
In 2020, Elm signed a share purchase agreement to acquire Tadabul, forming a national champion in the IT services sector.
This epitomizes PIF’s commitment to promoting its portfolio companies’ growth by bolstering partnerships and unlocking
growth opportunities for the economy. Therefore, this deal will integrate the value chain of logistics services into establishing
an integrated technological, strategic system, consistent with PIF Program objectives to push digital transformation forward and
empower technology infrastructures as a part of Vision 2030 objectives.
Elm is also navigating new horizons of innovative solutions through its national competencies with integrating its solutions
with its subsidiaries to unfold new opportunities, digital solutions, services, and e-products to various national sectors and
initiatives. All these measures seek to solidify the company’s position locally and regionally.




  2021 - 2025                                                                                                                   22
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 25 of 126




 ACWA Power
 ACWA Power is a developer, investor, and operator of power generation and desalinated water plants with 62 assets in
 operation, construction, or advanced development across 13 countries, with more than 3,500 employees. PIF acquired a 50%
 stake in the company.
 The company has steered many projects in water desalination employing advanced technologies in many countries, including
 Saudi Arabia, Bahrain, Oman, and United Arab Emirates.
 ACWA Power, a national champion that can compete globally, along with other PIF assets in the power sector, will support
 developing PIF projects and building up of domestic capacity in renewable energy.




 Saudi Arabian Investment Company
 One of the companies fully owned by PIF, the Saudi Arabian Investment Company was established in October 2009 with capital
 of SAR 20 billion and a strategy based on long-term investment, locally and internationally. It plays a pivotal role in maximizing
 PIF’s assets by investing in various assets that will pave the way for development in the Kingdom. SANABIL also contributes to
 increasing PIF’s investment returns while formulating strategic partnerships that blaze the trail for a more prosperous future.
 In 2019, the company evaluated and updated its strategy - in line with PIF’s objectives and strategy- through its focus on private
 growth investments and in various stages, starting with the angel investment stage and up to the post-IPO stage on a commercial
 basis for profit locally and internationally. The value of the company’s assets reached approximately SAR 30 billion by the end
 of Q3 2020.




23                                                                                                              2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 26 of 126




National Unified Procurement Company
PIF has 100% ownership in the National Unified Procurement Company (NUPCO), which is mandated with providing
procurement and logistics services to secure pharmaceutical supplies and medical devices for the Kingdom’s health sector.
The company strives to boost the efficiency of government spending in the health sector by investing in logistics and digital
infrastructure while harnessing investment opportunities to localize pharmaceutical industries.
NUPCO played a vital role in the Kingdom’s endeavors to address the COVID-19 pandemic by providing PCR tests, preventive
equipment, and vaccines. It has also launched many projects to raise the level of health services, including Wasfaty service,
Sehhaty app, Anat app, and virtual clinics. NUPCO has concluded a strategic partnership to establish a center for storing and
distributing medicines in King Abdullah Economic City, one of the largest logistics hubs in the region, covering an area of 97,000
sqm and containing 50-meter-high shelves that operate automatically employing breakthrough technologies for storing and
managing goods. In addition, there are 56 gates to receive all types of trucks and a parking area equipped to accommodate 180
trucks to facilitate operations.
NUPCO played a key role in receiving the first batch of COVID-19 vaccines from Pfizer to the Kingdom. The company designed
and operated a workflow to ensure that vaccines arrive at the right time and in the right quantity under the right conditions.




Saudi Agricultural and Livestock Investment Company ‎
PIF has 100% ownership in SALIC, which was established in 2009. Its primary role is to contribute to Saudi Arabia’s food security
strategy through various local and foreign investments that guarantee sustainability and growth.
SALIC has SAR 4.8 billion of paid-in capital, and invested in several international companies in agriculture and trade in grains,
rice, and meat in Ukraine, Canada, India, Brazil, Australia, and the UK. Despite all the challenges that SALIC faced during the
pandemic, it was able to deliver many successes in 2020. It established the National Company for Grains, in a strategic partnership
with the Bahri Company, to build a Yanbu grain station. It also supplied the first shipment of wheat from the production of its
investments in Ukraine with 64,000 tons of high-quality wheat to be available upon request by Saudi Grains Organization. In
addition, SALIC was vital to rapid intervention in supplying some basic food commodities and contributing to stabilizing prices,
such as for eggs, onions, and red meat.
During the coming years, SALIC aims to supply larger quantities of basic commodities through its international investments and
work to raise the operational efficiency of existing investments in addition to developing its connections with top-tier global
companies in grain trade and food processing. The company also plans to expand local and international investments according
to its strategy, including investment in agricultural technologies that aim to rationalize water consumption, raise production
efficiency, and preserve the environment.


  2021 - 2025                                                                                                                    24
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 27 of 126




 noon Company
 A leading national company, noon contributes to developing and expanding the e-commerce sector, with 50% of its shares
 owned by PIF. noon services have extended to cover more than 120 cities and provinces in the Kingdom, all of the United
 Arab Emirates, and Egypt. Moreover, noon has a wide delivery fleet, one of the largest in the region, which played a vital role in
 supporting its customers during the COVID-19 pandemic.
 The company launched the “Mahali” platform to support SMEs by advertising their products on the platform and expand their
 reach to new customer segments.




 The Saudi Information Technology Company
 The Saudi Information Technology Company or “SITE” was established in May 2017. It is fully owned by PIF and mandated
 with providing digital and cyber services and solutions. The company employs Saudi staff to enrich local content, secure the
 sensitive national infrastructure and the most critical information assets, and qualify and develop specialized human capital.
 Such measures lay the foundation for a sustainable economic knowledge system in digital, cybersecurity, and technology
 development in the Kingdom. The company is capitalizing on its digital capabilities, innovative expert solutions, and advanced
 services that qualify it to be an essential partner in innovation and building a promising future in this sector.
 Since its inception, SITE has achieved several milestones, including doubling the number of the company’s clients in 2020 and
 providing services to more than 200 national entities to secure and shield the sensitive national infrastructure.




 Saudi Arabian Military Industries
 The Saudi Arabian Military Industries is a PIF company established in May 2017 to support achieving Vision 2030 goals to be a
 catalyst in unlocking the military industries sector, driving localized spending, and transferring key capabilities and know-how to
 Saudi Arabia. The company relies on breakthrough technologies and employs top national competencies to develop innovative
 military products and services with international specifications through its central business units: aerospace systems, ground
 systems, weapons, missiles, defense electronics, and new technologies.
 As part of the progress it has achieved in localizing the industry, SAMI acquired Advanced Electronics Company and Aircraft
 Accessories and Components Company. SAMI also signed many joint ventures with top-tier global companies in the field,
 including the Spanish Navantia, the American L3 Harris, the Belgian CMI, and the French Thales Group.


25                                                                                                               2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 28 of 126




Saudi Real Estate Refinance Company
SRC was established in 2017 to uncover new horizons for the housing finance market in Saudi Arabia and revitalize the real
estate sector by enabling lenders to provide long-term financing solutions that help increase homeownership. SRC is the first
company to obtain a real estate refinance license.
The company plays a vital role in delivering the Vision 2030 housing sector goal of increasing its contribution to GDP and the
number of citizens owning their homes, with homeownership reaching 70% in 2030. The company’s assets reached around
SAR 1.6 billion in the third quarter of 2020.




The National Energy Services Company
PIF established the National Energy Services Company with a clear purpose of supporting the energy efficiency sector and
Kingdom’s objectives of building a diversified, sustainable economy. TARSHID plays a significant role in developing this sector
by attracting top-tier global drivers of the energy industry, foreign investment, and contributing to highly skilled jobs.
Among the most prominent achievements in the past period was replacement of more than a million streetlights in many cities
of the Kingdom, and rehabilitating more than 1,200 government buildings to cut costs and boost efficiency.




Saudi Investment Recycling Company
The Saudi Investment Recycling Company was established to contribute to GDP growth, generate job opportunities, and
improve the Saudi economy by developing the recycling sector in the Kingdom.
The company acquired “GEMS,” a leading company in the field of hazardous industrial waste recycling, as a starting point
for operations and expansion of other waste treatment. The company is also involved in the launch of the first plant to
treat construction and demolition waste in Riyadh with a capacity of 600 tons per hour, which will contribute to recycling
accumulated waste in the city.




  2021 - 2025                                                                                                                26
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 29 of 126




 The Helicopter Company
 A PIF company established as the first to provide helicopter services in the Kingdom to meet various needs. THC recently
 signed an agreement with Airbus to purchase 10 “H125” helicopters, the first of their kind in the Kingdom, to provide tourist
 flight services, photography and aerial surveys. THC currently has 17 helicopters serving air medical transportation, private
 transportation, aerial signs and photography.




 Saudi Entertainment Ventures Company (SEVEN)
 A PIF company that endeavors to unlock the potential of the entertainment sector in the Kingdom in partnership with AMC,
 SEVEN was the first to obtain a license to operate cinemas in 2018, and in the same year, it opened the Kingdom’s first cinema.
 The company’s business plan includes opening more theaters in partnership with AMC, the largest operator of cinemas in the
 world, in addition to entertainment cities and complexes across the Kingdom.




 Jada Fund of Funds Company
 Jada was established with the aim of increasing opportunities for SMEs to have access to capital by investing in private equity
 funds and venture capital.
 As part of the progress made in the past period, it invested nearly SAR 1,150 million in 14 investment funds, in addition to
 launching a program titled “Improving Emerging Fund Managers” to provide mentoring and professional development.




27                                                                                                           2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 30 of 126




SAFE Company
SAFE aims to develop the Kingdom’s security sector by providing an array of services in line with the best standards and
technologies. The company plays a pivotal role in empowering technologies and human capabilities in the security services
sector by providing advanced training programs that support professional and personal growth, thus generating more job
opportunities and promoting professional standards. Such measures include:
  • Security consulting services.
  • Integrated security solutions services.
  • Globally recognized training and development programs that meet the requirements of security guards working in the
    Kingdom’s private sector.
  • High-tech command and control centers directly linked to various security agencies.




 2021 - 2025                                                                                                           28
                Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 31 of 126




 Future Investment Initiative Institute (FII Institute)
 The Future Investment Initiative was launched in 2017. The initiative reinforces PIF to become an effective and
 influential institution in line with global investment trends across various economic sectors. Since 2017, more than
 550 speakers have been invited, with more than 13,000 participants, and in 2019, the initiative succeeded in becoming
 one of the world’s top three economic events.
 Future Investment Initiative Institute Objectives
 FII Institute will solidify the Kingdom’s global image as a primary driver of the global economy. It seeks to uncover new solution
 for pressing community issues through:
     • Uncovering innovative solutions focused on four societal challenges in four areas of influence: healthcare, sustainability,
       AI, and robotics, in a way that contributes to forming alliances and strengthening relationships that will contribute to
       achieving common purposes.
     • Acting as a knowledge-sharing hub for the top-tier investor community to drive investment decisions
     • Cultivating and supporting groundbreaking innovative ideas via media content.
     • Launching programs that contribute to enhancing leadership and creating peer communities for Saudi entrepreneurs
       in investment, as well as their international counterparts.
 FII Institute is also responsible for managing the Future Investment Initiative Conference and implementing many similar
 initiatives globally along with other activities throughout the year.




29                                                                                                              2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 32 of 126




                                          At the International Level


PIF launched two international investment pools:
  • International Strategic Investments
  • International Diversified Pool
International investment pools include investments that are outside the Kingdom and the MENA region. PIF has
built deep connections with top-tier international investors and partners, asset managers, investment banks, and
international brokerage firms to become one of the world’s largest investment institutions.

PIF succeeded in solidifying its position globally, with the volume of international investments increased to
constitute 30% of AuM compared to 5% in 2017 – at the same time, diversifying its investments geographically
across various asset classes and sectors. Geographically, PIF has expanded its investments in North America,
Europe, Asia, Latin America, and Africa.

PIF has also succeeded in investing in various asset classes to include direct and indirect investments in public
and private markets, stocks, fixed income, real estate, infrastructure, and others. PIF has worked on diversifying its
investments in healthcare, technology, real estate, infrastructure, consumer services, transportation, etc.

PIF’s investments’ long-term strategy does not restrict it from seizing short-term opportunities whenever they
arise. PIF completed many deals in global public markets in 2020 to leverage opportunities emerging out of
COVID-19 pandemic.




 2021 - 2025                                                                                                        30
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 33 of 126




        1- International Strategic Investments
        The “International Strategic Investments” pool has grown significantly since its inception. It currently
        encompasses many international direct and indirect investments in growth companies, industries of
        the future, and strategic partnerships, including PIF’s investment in the largest private equity fund ever.
        PIF will continue to contribute and invest in international sectors, in line with Vision 2030 objectives,
        which includes growing and diversifying PIF’s assets and returns, establishing economic and strategic
        partnerships, and expanding the Kingdom’s reach and influence as a leading powerhouse in the
        global economy. Examples of these investments include:




 SoftBank Vision Fund
 PIF is the major investor in SoftBank Vision Fund, the largest technology-focused investment fund after committing $45 billion.
 Since its inception, the SoftBank Vision Fund invested and continues to invest across many technology sectors such as Internet
 of Things (IoT), Artificial Intelligence, Healthtech and Fintech.




 US Infrastructure Investment Program
 PIF has committed up to $20 billion to the “Blackstone Infrastructure Fund Program”, one of the largest dedicated infrastructure
 fund program in the world, which mainly aims to modernize US infrastructure at scale.




 Russian Direct Investment Fund
 PIF and the Russian Direct Investment Fund concluded a series of agreements for investments of up to $10 billion in joint projects
 between the Kingdom of Saudi Arabia and Russia. PIF invested nearly $2 billion in diverse sectors including infrastructure,
 manufacturing, logistics and retail sectors.




31                                                                                                              2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 34 of 126




Investment program in Brazil
In October 2019, during the Future Investment Initiative, PIF announced its intention to invest up to $10 billion in the Federative
Republic of Brazil. PIF is currently building relationships to help execute this program in accordance with PIF’s goals and strategy.
To date, PIF has committed to two funds in private equity and infrastructure.




Uber
PIF invested $3.5 billion in Uber Technologies. Uber is a global leader in the transportation and technology sectors, which is
transforming mobility.




French Private Equity Investment
A memorandum of understanding was signed with AFIC in June 2015, to invest $2 billion with French asset managers, whereby
PIF, until the end of 2020, committed in eight funds for private equity, credit, and infrastructure.




Jio Platforms
Jio Platforms is a leading telecommunication and digital services platform in India. PIF has invested ~$1.5 billion to acquire a
~2.32% equity share in the company.




Reliance Retail
Reliance Retail is the largest physical retailer in India. PIF has invested ~$1.3 billion to acquire a ~2.04% equity share in the
company.




  2021 - 2025                                                                                                                      32
               Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 35 of 126




 Lucid Motors
 In 2018, PIF invested in Lucid Motors, a US electric vehicle manufacturer. Since PIF’s investment in 2018, the company
 has made many breakthroughs including:
     • In September 2020, Lucid unveiled the Lucid Air a pure-electric luxury sedan.
     • In December 2020, Lucid have finished the first phase of the construction of its factory in Casa Grande, Arizona
       with an annual initial production capacity of 30,000 units per year initially and up to 400,000 units annually.




 AccorInvest
 PIF joined forces with a group of investors to acquire a 55% stake in the French company in 2018. AccorInvest is both owner
 and operator of hundreds of hotels worldwide largely focused in Europe.




 Babylon Health
 Babylon Health is a telemedicine company which offers virtual consultations with doctors, a symptoms checking service and
 a chronic condition management through its app. PIF, along with a group of investors, invested in the company, which targets
 putting accessible and affordable healthcare services in the hand of people all around the world. The app employs cutting-edge
 technologies like AI used as a chatbot interface for patients and helps doctors by downloading patient records, consultation
 transcripts, and prompting questions to aid diagnosis.




 Magic Leap
 Magic Leap is a mixed/augmented reality technology company in the US. PIF is a major investor in the company.




33                                                                                                           2021 - 2025
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 36 of 126




 2- International Diversified Pool
 The International Diversified Pool covers diversified international investments in the public and private
 markets including but not limited to fixed income, equities, hedge funds, real estate, and infrastructure
 investments. This pool aims to deliver large and diversified returns in the long term.

 Recently, PIF has succeeded in deepening connections with various asset managers, investment banks,
 and international brokerage companies to become one of the world’s largest investors. Such measures
 have led to its significant growth in commitments and investments with various global fund managers
 across multiple asset classes such as public and private equity, credit, real estate, infrastructure, etc. in
 different geographical areas.




2021 - 2025                                                                                                      34
                Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 37 of 126




                                               At the Institutional Level


 Establishing the National Development Division
 PIF set up a specialized division to support national development through PIF investments to drive PIF’s national
 development agenda and oversee its successful implementation of Vision 2030. The Division is mandated with
 three main objectives:
 1. Analyzing and improving the economic development impact of current and future PIF investments through:
     • Participating in studying the feasibility of local fund investments and their impact on GDP, generating jobs, increasing
       Saudization, boosting local content, and promoting new industries’ localization to diversify the national economy and
       unlock new horizons for knowledge transfer.
     • Cooperating with VRPs, to enable them to implement their initiatives through financial or non-financial support.
     • Aligning with the Kingdom’s national strategies and work with government entities to deliver Vision 2030 objectives.
 2. Defining PIF strategic directions regarding the Kingdom’s economic and social development and support
    its implementation, with emphasis on the following areas:
     • Private sector participation: as an investor and partner in PIF investments and as a resource for PIF portfolio companies
       and projects with plans to enhance that role in delivering set objectives.
     • Securing supply chains for Giga-projects: develop a comprehensive strategy to secure the supply chain while uncovering
       new private sector growth opportunities.
     • Localization, by introducing a strategy to boost local content in PIF’s portfolio companies and its future investments.
     • Supporting organizational changes to enable national development: formulate and modify PIF’s internal policies to
       enhance private sector participation, raise the economic impact of PIF’s investment portfolio, and encourage its portfolio
       companies to incorporate relevant amendments.
 3. Evaluating the economic impact of PIF Program; by setting up a mechanism for measuring PIF’s economic targets and
    evaluating them periodically to define ways to enhance PIF’s performance towards achieving its targets.




35                                                                                                              2021 - 2025
      Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 38 of 126




Launching PIF Academy for Training and Development in cooperation with the most
prestigious international universities and institutes

                                                                    Training
                Training of more than
                160       graduates
                                                                    675 employees over two years
                                                                    with 1,023 external and internal
                at PIF’s Graduate
                                                                    training programs
                Development Program
                                                                    Launching a cooperative training program to train

                Launching                                           15 Saudi engineering graduates
                                                                    in cooperation with Lucid Motors, utilizing
                “Executive MBA program”                             the latest technologies at the company’s
                with a participation of                             headquarters in the US. Seven of the first
                41 employees                                        cohort students received full-time job offers at
                                                                    the end of their training.




Doubling the number of employees annually


     40           110                 240            399               673                   +1000
     2015          2016               2017            2018               2019                     2020



                26%
                of PIF employees are women in line with its objectives to promote the role of women at
                all levels of employment including leadership positions.




 2021 - 2025                                                                                                       36
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 39 of 126




             At the Level of Portfolio Companies and PIF Representatives on the
                                       Board of Directors

Launching the “PIF Way” Initiative
 PIF launched the “PIF Way” initiative to create added value with its portfolio companies. PIF Partners Forum
 represents a platform that attracts executives from PIF local portfolio companies to share ideas, opportunities and
 experiences. The first PIF’s Partners Forum was held in November 2019 under the title “How to Reach Excellence
 in an Era of Digital Breakthroughs.”

 Establishing the Center for Governance
 Mandated with developing the skills of board members in portfolio companies, the Center for Governance seeks
 to cultivate corporate governance practices in the Kingdom and keep pace with best local and global best practices.

 PIF Representatives Nomination
 PIF has adopted a very precise procedure for the nomination and selection of its representatives in a manner
 that considers the various details of each particular company. The procedures for nominating representatives
 of PIF start from examining the company and its board of directors in a comprehensive study to determine the
 type of specialization, skills, expertise and experience required in order to select representatives of the best
 competencies from PIF’s candidate database, which exceed 1,200 candidates. The nomination process is carried
 out in accordance with approved policies that ensure high governance in selecting the most suitable candidates.
 This procedure was followed when appointing more than 400 representatives.




37                                                                                                 2021 - 2025
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 40 of 126




Chapter Three
Five Years Ahead in an Ambitious Journey




2021 - 2025                                                                38
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 41 of 126




 01
 Strategic Pillars
 PIF program has developed eight strategic pillars through which it designs and develops its initiatives. This includes
 initiatives across several sectors and asset classes globally to achieve its 2025 and 2030 aspirations, given their
 direct compatibility with the goals of Vision 2030. They are also compatible with the directives issued by CEDA’s
 Strategic Management Committee (SMC) and PIF’s Board of Directors.


 PIF Program’s pillars vary, including investment, value creation, and institutional
 pillars, namely:

 Launch and Grow Domestic Sectors

 This strategic pillar is a catalyst to the Kingdom’s transformation and contributes to maximizing the value of PIF’s
 investments in Saudi companies and developing local sectors.

 It bundles all initiatives that aim to develop new sectors, or established ones that can benefit from the Kingdom’s
 significant growth.

 Such initiatives that fall within the strategic pillar are identified at the sector level and are mapped to four themes
 for domestic investment:




           1                             1                             1                                 1
     Create industries               Diversify                  Unlock resources                  Improve quality
         at scale                 revenue sources                  potential                          of life




39                                                                                                     2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 42 of 126




PIF Strategic Sectors

To deliver the best outcomes, achieve the highest goals and support the national economy, PIF Program identified
13 strategic sectors that constitute a priority in the local market, namely:



                 Aerospace and Defense                                    Utilities and Renewables



                 Automotive                                               Metals and Mining



                 Transport and Logistics                                  Health Care



                 Food and Agriculture                                     Consumer Goods and Retail



                 Construction and building                                Telecom, Media, & Technology
                 Components and services



                 Entertainment, Leisure, and sports


         $


                 Financial Services



                 Real Estate




 2021 - 2025                                                                                                  40
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 43 of 126




 Develop Domestic Real Estate Projects

 The Kingdom’s Real Estate and Infrastructure sector is a key part of Vision 2030 and is different in scale, type and
 nature from other sectors and other Real Estate and Infrastructure sectors globally, thus warranting its own pillar.
 This Strategic Pillar contributes to developing local Real Estate and Infrastructure projects and companies along
 the value chain. More precisely, it bundles all initiatives that are building development companies or supporting
 new companies in the Real Estate and Infrastructure sector in Saudi Arabia.

 The initiatives within the strategic pillar are structured by regions in Saudi Arabia (Central, Western, Southern,
 Eastern and Northern) and comprise of projects located within each region. The initiatives in this sector aim to
 achieve several goals, including, for example:


          Contributing to the Vision 2030 objective of
                                                                     Developing world-class urban communities
          raising home-ownership level to 70%


          Diversifying revenue sources                               Enhancing the quality of life for Saudi citizens


          Improving the Hajj and Umrah experience                    Developing and promoting Saudi Arabia as
          for both local and international visitors                  tourism destination

          Instilling construction and design best                    Improving primary infrastructure of
          practices into the sector, following global                the Kingdom and supporting economic
          best practices                                             development
          Reinforcing strategic partnerships with                    Driving local supply chain growth for the Real
          investors (local and international)                        Estate sector


          Cultivating and fostering innovation




41                                                                                                    2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 44 of 126




Develop Giga-projects

This strategic pillar is focusing on the Kingdom’s giga-projects, which enable the creation of new ecosystems
and unlock new sectors through the Public Investment Fund, heavily enabled by and promoting technology and
knowledge in Saudi Arabia.

The giga-projects are designed to stimulate the economy and their benefits are expected to expand significantly
beyond the real estate and infrastructure sectors, helping to diversify the economy away from oil, especially
given their sheer scale. They support the Kingdom’s economic transformation efforts and promote investments in
several sectors, while achieving high returns over the medium and long terms.

There are currently four giga-projects in the Kingdom:




 2021 - 2025                                                                                                 42
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 45 of 126




 Grow and Diversify PIF’s Assets Internationally

 Initiatives in this strategic pillar aim to develop international strategic partnerships and engage in International
 investments to diversify sources of wealth and income. PIF will participate through megatrends investing,
 international partnerships, and diversified exposure.

 The main goal of this pillar is to grow and diversify PIF’s international portfolio investments broadly, across
 geographies, asset classes and sectors, and away from the domestic economy and oil and gas industries.
 Continuously allocating capital to public and private market investments internationally will deepen and increase
 the number of PIF’s strategic partnerships. Moreover, additional international investments will reduce portfolio
 risk by providing greater diversification. The initiatives in this pillar aim to:




                    1                                   2                                    3
               Enhance and                   Strengthen Saudi Arabia’s            Achieve high, long-term
             diversify returns.                position on the world                returns by taking part
                                                stage as a leader and                of diversified global
                                                enabler of the future               investments in public
                                                global economy and                and private markets; and
                                               build its international            provide future sources of
                                             reputation as a preferred               wealth and returns.
                                              investor and partner of
                                                       choice.




43                                                                                                  2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 46 of 126




Support National Development and Act as an Enabler of Vision 2030

This Strategic Pillar is focused on PIF value creation and supporting national development through:

  • Securing supply chain and localization: PIF developed a supply chain strategy to avoid delays to projects,
    ensure availability of materials and services for the projects at reasonable prices, increase localization through
    large local spending and make use of investment opportunities in PIF projects’ supply chains, without crowding
    out the private sector.

  • Enhancing private sector engagement: Increasing private sector participation in the Kingdom’s economy is an
    important component of PIF’s business model. PIF consistently evaluates the potential impact of an investment
    initiative on the private sector. PIF developed a strategy to include the private sector as:

     ◦ Investors: Engage the private sector as an investor in PIF projects and in investment opportunities in companies’
       supply chains, in sectors led by PIF portfolio companies.

     ◦ Suppliers: Open PIF procurement opportunities to a wider breadth of private sector suppliers within Saudi
       Arabia and build the capabilities of private sector suppliers that are key for PIF.

     ◦ Financiers: Involve the private sector as a third-party funds provider to PIF, its portfolio companies and its
       projects.

  • Enabling the Kingdom’s vision 2030 through collaboration with other VRPs: PIF is not only one of Vision
    2030 VRPs, but also an enabler for other VRPs. As a result, it is necessary for PIF to collaborate with other VRPs,
    investing in opportunities that are commercially viable across sectors in the Kingdom (which are also aligned with
    PIF’s strategy and investment requirements).

This strategic pillar is expected to drive domestic value creation and maximize long-term economic growth, and
PIF becomes an enabler to other VRPs in the Kingdom.




 2021 - 2025                                                                                                          44
               Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 47 of 126




 Exploit Portfolio Synergies and Create Strategic and Operational Value

 This pillar aims to:

     • Build an interconnected network of PIF portfolio companies across geographies and sectors, with a focus on
       increasing collaboration and realizing synergies between them.

     • Establish and grow PIF’s Center for Governance to drive sustainable value creation through Board representatives
       and steer PIF’s agenda in impact investing with a specific focus on sustainability (ESG) investments that will
       address the Kingdom’s long-term prosperity and resilience goals.

 Initiatives will impact investments across all pools, aiming to build an interconnected network of portfolio
 companies across sectors, exerting PIF’s influence by developing high caliber board representatives, driving
 impact investing, both in the Kingdom and globally. These initiatives will also support PIF’s overall investment
 agenda to achieve Kingdom’s prosperity and resilience.




45                                                                                                    2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 48 of 126




Diversify Funding and Strengthen PIF Balance Sheet

As PIF engages in an ambitious growth strategy, funding optimization and balance sheet strengthening will be key
for several reasons: maximizing risk-adjusted returns, increasing diversification of portfolio, engaging the private
sector, and supporting capital recycling to re-invest in high growth projects, which will help achieve PIF’s strategic
objectives.

PIF leverages several sources of funding, both organic and inorganic. Examples include earnings in the form of
dividends and divestments, capital injections, asset transfers from the government, loans and debt instruments
raised at PIF level.

The initiatives in this pillar are aimed at:




           1                                   2                        3                              4
    Supporting PIF                     Enhancing the               Developing PIF’s                 Supporting
   and its portfolio                  participation of             funding strategy           companies through
     companies in                       international                at fund and               their IPO journeys
    achieving and                        institutional            investment-levels            by monitoring and
  optimizing targeted                 investors to the           and designing debt               assisting them
   capital structure.                local equity/debt           programs targeting           through the various
                                           market.              a wide pool of local             IPO milestones
                                                                  and international            while encouraging
                                                                investors leveraging              private sector
                                                                  PIF relationships.            and international
                                                                                                     investor
                                                                                                   participation
                                                                                                 in Saudi Arabia
                                                                                                     markets.




 2021 - 2025                                                                                                        46
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 49 of 126




 Strengthen PIF as an Institution

 This strategic pillar will enable PIF as an institution to create even more value across other strategic pillars, by
 elevating PIF’s thought leadership in economic development and forecasting topics, transforming PIF into a digital-
 leading organization, implementing a common culture across PIF, and developing a communication strategy.

 To meet the objectives of its program and in line with its key role in achieving Vision 2030, PIF seeks to strengthen
 its institutional capacity through the following initiatives:




            1                             2                              3                             4
     Establish PIF Center              Position PIF              Build a common,               Communicate PIF’s
        for Economic                   as digitized,             unified PIF culture           purpose locally and
           Insight.                   intellectually              in a fast-growing                 globally.
                                  leading organization              organization.
                                      of the future.




47                                                                                                   2021 - 2025
       Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 50 of 126




02
Aspirations
The Program seeks to achieve PIF 2025 objectives of diversifying the economy, developing new sectors and
improving the quality of life. By the end of 2025, PIF will:




                                                   2025
            SAR   4
           trillion
                                                     SAR   1.2
                                                          trillion
                                                                                                  SAR    150
                                                                                                         billion
                                              PIF and its portfolio companies            PIF to invest a minimum of SAR 150
       AuM to reach around
                                             contributing to SAR 1.2 trillion in         billion annually in new investment
          SAR 4 trillion.
                                                non-oil GDP cumulatively.                           projects Locally.




  Such targets are expected to contribute to the achievement of PIF’s primary ambitions in line with Vision
  2030 by the end of 2030, mainly:


                                                   2030
                                  SAR 7.5
                                    trillion
                                                                                   7%
                                                                       PIF and its portfolio companies
                            AuM to reach around SAR 7.5                should contribute to increasing
                                      trillion.                          the annual non-oil GDP by
                                                                             approximately 7%.




 2021 - 2025                                                                                                                  48
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 51 of 126




 03
 Targets and Metrics
 In collaboration with relevant government entities, PIF developed metrics to measure and track the achieved
 impact to reflect the program’s priorities derived from Vision 2030 and associated with its strategic directions, the
 most prominent of which are:

                                                  Program Metrics

                                                 Target by End of 2025

                                                       Assets under Management (AuM)
                                                               SAR 4 trillion
                                                     Baseline: SAR ~1.5 trillion in 2020



                                                            New Local Investments
                                                   Minimum of SAR 150 billion annually


                                                      Share of PIF Assets in New Sectors
                                                                    21%
                                                           Baseline: 15% in 2020


                                                  Share of PIF Assets in International Sectors
                                                                    24%
                                                           Baseline: 30% in 2020


 - All numbers are preliminary and not audited



49                                                                                                   2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 52 of 126




According to the above mentioned metrics, investments are expected to lead to:


                            Expected Impact on Macroeconomic Indicators

                                          Expected Impact by End of 2025


                                                          Non-oil GDP Contribution

                                                        SAR 1.2 trillion cumulatively



                                                                 Job Creation

                                                1.8 million direct, indirect and induced jobs



                                                        Contribution to Local Content
                                                                     60%
                                                   (Including PIF and its portfolio companies)



                                                      Non-Governmental Investments
                                                        SAR1.2 trillion cumulatively
                                                          (Includes domestic and FDI)



- All numbers are preliminary and not audited




  2021 - 2025                                                                                    50
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 53 of 126




 04
 Investment Pools
 PIF conducted a review of the investment pools’ current situation, which included reviewing its priorities in the
 context of the new program, the inputs from asset managers and investment advisors, and set out to classify the
 pools based on respective guidelines.

 After reviewing PIF’s Assets under management, PIF developed six investment pools, four of which are local and
 two are international, which are as follows:



01          Saudi Equity Holdings

 These assets include companies listed in the stock market and companies non-listed
 in the stock market distributed to a number of sectors. The pool will help PIF to fulfil
 its targets by striving to maximize the value of subsidiaries and achieving sustainable
 long-term returns. The allowed investments include investments shares in Saudi
 and the MENA region companies that may be listed joint-stock companies or private
 companies. It may also include indirect investment through other parties or externally
 managed funds. Investment is also allowed in other assets in the MENA region.




02          Saudi Sector Development

 Investment includes new and emerging sectors and companies, whether direct or
 indirect investments. Throughout such investments, PIF aims to improve and launch
 new main sectors that promote diversification and improvements in the economy,
 enabling the private sector to develop and improve such sectors to establish knowledge
 and technology and create job opportunities in small and medium enterprises.

 PIF aims to establish promising sectors in different areas of the value chain and invest
 in such areas to unlock private sector growth. The general objective of this portfolio is
 to enhance growth in the sector rather than direct competition within.



51                                                                                               2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 54 of 126




03         Saudi Real Estate and Infrastructure Development

Assets include investment in real-estate development and infrastructure projects that
exist in Saudi Arabia. Such projects meet the population’s increasing need for relaxation,
recreation, retail and entertainment. The investments also contribute to the promotion
of Saudi Arabia as a tourism destination, improves urban livelihood, develop basic
infrastructure to support economic development and launches relevant sectors.

Moreover, PIF will also capitalize on these investments to bring best-in-class development
expertise, and to attract capital from local and foreign investors.




04         Saudi Giga-Projects

Assets in this pool include projects that are large-scale and form complex ecosystems,
that significantly transform the Saudi economy. These investments, classified by the
Board as “Giga-Projects”, are multifaceted, globally unique in scope and ambition,
and designed to stimulate overall growth and add significant value to the economy.

These Giga-Projects are developmental with main success measures that will bring
macro-related benefits such as non-oil GDP growth, job creation, sector development
and FDI, etc.




05        International Strategic Investments

Assets in this pool include long-term international direct and indirect investments through
selected strategic partnerships. Through this pool, PIF targets investments that focus on
industries of the future, foster relationships between PIF and innovative companies and
investors, and strengthening links with international counterparts, influential investors
and investment managers.




 2021 - 2025                                                                                  52
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 55 of 126




06         International Diversified Pool

 International Diversified Pool will supply a diversified asset base and source of wealth
 accumulation and income by investing in liquid and illiquid international assets. The IDP
 seeks to diversify investments broadly, across geographies, asset classes and sectors, and
 away from the domestic economy and oil and gas industries. Its investment decisions and
 focus will be driven by commercial investment returns over the long-term.




53                                                                                            2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 56 of 126




05
Sources of Funding
PIF funding sources are represented through four main sources:




Capital injections from the   Government assets            Loans and debt   Retained earnings from
       government              transferred to PIF           instruments          investments




 2021 - 2025                                                                                         54
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 57 of 126




 06
 Governance and Operations
 PIF has adopted a governance and operating model that reflects its mandate and objectives, and builds on global
 best practices. The operating model ensures transparency, efficiency in decision-making, and the ability to evolve
 in the future.

 On the institutional level, PIF shall report to the Council of Economic and Development Affairs. It shall have a
 public legal personality as well as financial and administrative independence. Different administrative levels are
 interconnected under the supervision of PIF Board of Directors to ensure transparent communication, effective
 work and significant progress to achieve specific and clear results.


                                               PIF Governance


                                               PIF Board of Directors




      Executive     Board Investment       Audit and                             Board Risk        Remuneration
     Committee         Committee          Compliance                             Committee          Committee
                                          Committee



                                                   PIF Governor




     Management       Management          Portfolio Companies            Management Risk           Management
      Investment       Committee         Nomination Committee                                        Liquidity
      Committee                                                            Committee                Committee




55                                                                                                2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 58 of 126




                                           PIF Board of Directors


PIF’s Board of Directors and its committees comprises of highly qualified leaders with experience and expertise
in Economics, Energy, Law, Finance and project delivery. Under the chairmanship and guidance of HRH Prince
Mohammad bin Salman bin Abdulaziz Al Saud, CEDA’s Chairman, the Board is responsible for overseeing PIF’s
long-term strategy, investment policy and performance.

PIF BoD Committees:


        Executive           Monitors and aligns PIF’s performance with its mandate and provide management with strategic
       Committee            decisions and guidance.


                            Reviews and endorses PIF’s investment activities that mainly cover: investments in portfolio
       Investment           companies, new direct and indirect investments, establishment of new companies, asset transfers,
       Committee            and investment policy. Except for His Excellency the Governor, committee members are all non-
                            executive members with local and international expertise in different fields.


                            Approves the audit plan and reviews audit reports and financial statements. It also reviews and
                            ensures PIF compliance with internal and external regulations policies. All members of this
        Audit and
                            committee are non-executive members who offer their knowledge in the fields of audit and
       Compliance
                            compliance to ensure PIF operations are on the right track and match best practices around the
       Committee
                            globe. This committee was previously named the “Audit, Risks, and Compliance Committee” until
                            2018.


                            Ensures that investments comply with risk management policies. It also identifies the risk appetite
                            statement and mitigation plans to avoid any risks PIF might encounter during its investment and
       Board Risk           non-investment activities. Additionally, as PIF addresses the importance of risk management, a
       Committee            resolution was issued in 2018 that stipulates the risk monitoring scope will be addressed separately
                            to ensure proper controls are in place and with direct and undistracted focus on monitoring it. This
                            resolution led to the establishment of the Risk Committee.


                            Caters to the overall remuneration pool, each senior management member, the compensation
     Remuneration
                            policy for external members in PIF committees and the overall compensation and benefits scheme
      Committee
                            for the performance management of employees




 2021 - 2025                                                                                                                       56
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 59 of 126




                                Committees at the Management Level


 The governance model in the Board of Directors falls under the executive management level with five committees
 that review strategic and operational activities, and evaluate investment and non-investment proposals before
 filing them to the Board and its committees to take the proper resolutions. The Executive Committee also exercises
 the powers granted to them by the Board by authorizing a number of them to administrative committees.

 PIF Management Committees:

                              Monitors the strategy, business plan execution, and annual operation budget from an institutional
        Management
                              perspective. It makes the necessary decisions within its framework of authority and reviews non-
         Committee
                              investment related proposals that will be issued to the Board of Directors and its sub-committee.


     Portfolio Companies      Proposes candidates to represent PIF in its portfolio companies, reviews the representatives’
         Nomination           performance and ensures proper governance practices are in place, in order to maintain integrity
         Committee            and control.


        Management            Reviews all investment proposals before they are issued to the Board of Directors and its sub-
        Investment            committees, in addition to authority regarding investments which is delegated by the Board of
         Committee            Directors is practiced by the Executive Management.


                              Monitors risks and PIF compliance with its risks policies, proposes mitigation action to potential
      Management Risk
                              risks and updates to internal guiding documents that match best practices. This committee also
        Committee
                              identifies business continuity plans to ensure business resilience.


                              Reviews and recommends PIF financing strategy and lending activities to portfolio companies;
        Management            monitors the liquidity of PIF, develops the capital structure and ensure it is within the desired state
     Liquidity Committee      to maintain the pace of its activities as desired, in addition to ensuring that funding plans are in
                              place and within aspired targets.




57                                                                                                                 2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 60 of 126




Risk Management Framework

PIF employs a robust risk management framework to support the execution of the VRP, the main components of
which, include governance, oversight and infrastructure/reporting, are depicted in the figure below. Risk oversight
and control activities are a shared responsibility, not only performed by an independent Risk Management function
but also supported by the broader organization using a “three lines of defense” model. At the framework’s core,
oversight is performed as a continuous process of risk identification, assessment, measurement and mitigation,
as well as monitoring and control.




                          • Committee structure and authority: Board and
       Risk                 delegated authorities
                                                                                                 Identiﬁcation
    Governance            • Risk management philosophy, culture and values
                          • Risk Appetite statement tolerance
                          • Risk management policies and Framework
                                                                                    Assessment

                          •   Three lines of defense model
   Risk Oversight         •   Risk Division with independence and objectivity
                          •   Review, challenge, reporting and escalation                        Measurement
    and Control           •   Framework and policy oversight and maintenance
      Function
                                                                                    Mitigation


      Risk Data           •   Common risk language/risk taxonomy/risk register                    Monitoring
    Aggregation,          •   Risk management platform and toolset                                & Control
 Infrastructure and       •   Aggregation and portfolio Wide view
     Reporting            •   Board and management reporting




 2021 - 2025                                                                                                     58
            Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 61 of 126




 Developing Investment Policies

 After approving PIF’s initial program (2018-2020), investment policies were developed and approved in order to
 provide more detailed instructions about management of PIF investment portfolios, and such policies include:

   • Comprehensive strategy for the whole investment program that provides common guidelines to all portfolios and
     identifies how PIF assets are distributed in such portfolios.
   • Policies specifically tailored for each individual portfolio.
   • The policy of treasury portfolio (Non-investment portfolio).
 Investment policies enable PIF to adopt the best global investment practices by identifying the objective of
 each investment portfolio, providing details on the allowed asset categories, and allocate targets, performance
 standards and risk tolerance.




59                                                                                               2021 - 2025
     Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 62 of 126




Chapter Four
PIF Initiatives, a Future Made Through
Investment



2021 - 2025                                                                60
             Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 63 of 126




 01
 Initiatives Portfolio
 PIF has launched a number of initiatives that form the basis of Vision 2030 and aligned PIF’s aspirations, strategic
 pillars and considerations to guarantee PIF targets are achieved.

 The initiatives are designed to avoid overlap with other initiatives and guarantees flexibility in identifying and
 following up on opportunities annually. Moreover, a timetable that extends to the end of 2025 has been developed
 to implement and manage such initiatives.

 To successfully implement the initiatives, the resources needed from PIF have been assessed, including human
 capital requests, funding amounts and technologies and IT services.




61                                                                                                  2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 64 of 126




02
List of Initiatives

                       ‫مجالس إدارتها‬   ‫املحفظة وممثلي الصندوق في‬
                                Initiatives                      ‫ على نطاق شركات‬Strategic
                                                             Objectives
No.




                                                                                                           Pillars

 1.    Grow the Kingdom’s Aerospace Sector and Solidify its Defense Sector.

        Develop the Kingdom’s Automotive Capabilities by Localizing R&D
 2.
                   and Manufacturing of New-age Materials.

                                                                               Create Industries
 3.      Promote the Kingdom into a Global Transport and Logistics Hub.
                                                                                   at Scale
       Enable the Growth of Kingdom’s Food and Agriculture Sector to Help
 4.     Achieve a Sustainable Domestic Food Production System, Diversify
        External Food Supply Sources and Ensure Food Security Resilience.
        Solidify the Kingdom’s Position as a Leader in The Construction and
 5.
           Building Components and Services for the Real Estate Sector.

       Diversify and Enrich Entertainment, Leisure and Sports Experiences in
 6.
                   the Kingdom to Create a More Vibrant Society.

         Support the Growth of the Financial Sector; a Key Enabler of the                          Launch and grow domestic
 7.                                                                            Diversify Revenue
                           Kingdom’s Vision 2030.                                                           sectors
                                                                                    Sources

 8.             Invest Opportunistically Across Diversified Sectors.

       Support the Growth of the Metals and Mining Sector; a key Enabler of
 9.
                          the Kingdom’s Vision 2030.
                                                                               Unlock Resources
                                                                                  Potentials
        Leverage the Kingdom’s Natural Potential to Grow the Utilities and
 10.
                              Renewables Sector.

 11. Stay at the Forefront of Innovation to Improve the Healthcare Sector.

         Develop the Kingdom’s Innovation Capabilities by Localizing the       Improve Quality
 12.
         Technology Sector and Developing the Telecom & Media Sector.              of Life

        Unlock the Development and Growth of the Retail and Consumer
 13.
                               Goods Sector.




 2021 - 2025                                                                                                                  62
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 65 of 126




                        ‫مجالس إدارتها‬   ‫املحفظة وممثلي الصندوق في‬
                                 Initiatives                      ‫ على نطاق شركات‬Strategic
                                                              Objectives
 No.



                                                                                                           Pillars
     14.         Develop Real Estate Projects in the Central Sector.

     15.           Develop Real Estate Projects in Western Sector.          Develop domestic
                                                                               Real Estate
     16.          Develop Real Estate Projects in Southern Sector.              projects

     17.    Develop Real Estate Projects in Northern and Eastern Sectors.
                                                                                 Support the     Develop Domestic Real Estate
                                                                              improvement of              Projects
                                                                            real-estate projects
                                                                               by diversifying
           Support the Development of the Real Estate Sector Through the        development
     18.
               Setup of New Companies and Centers of Excellence.               and supporting
                                                                                construction,
                                                                                services and
                                                                                  operation
                                                                                 companies

     19.                      Develop NEOM Project.

     20.                    Develop the Red Sea Project.
                                                                                Build Giga
                                                                                                    Develop Giga Projects
                                                                                 Projects
     21.                      Develop Qiddiya Project.

     22.                     Develop ROSHN Project.


     23.                 Invest Thematically in Megatrends.                     Develop
                                                                             international
                                                                              assets under
                                                                            management and
     24.    Invest Opportunistically Through International Partnerships.        returns

                                                                                                Grow and diversify PIF’s assets
                                                                                                      internationally.


                                                                              Diversify PIF
     25.          Diversify Exposure of PIF International Portfolio.          international
                                                                                portfolio




63                                                                                                            2021 - 2025
       Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 66 of 126




                      ‫مجالس إدارتها‬   ‫املحفظة وممثلي الصندوق في‬
                               Initiatives                      ‫ على نطاق شركات‬Strategic
                                                            Objectives
No.


                                                                                                                Pillars

26.             Enhance Supply Chain Security and Localization.
                                                                                 Support national
                                                                                                     Support national development
                                                                                 development and
27.                      Engage with the Private Sector.                                             and act as an enabler of Vision
                                                                                act as an enabler of
                                                                                                                  2030
                                                                                    Vision 2030
        Support Vision 2030 by Investing in Suitable Opportunities from
28.
                                 other VRPs.

      Create Strategic and Operational Value Across PIF’s Portfolio Through      Exploit portfolio
29.
                                 the “PIF Way”.                                     synergies

                                                                                                       Exploit portfolio synergies
      Establish and Grow PIF’s Center for Governance to Drive Sustainable
30.                                                                                                     and create strategic and
                 Value Creation Through Board Representatives.
                                                                                 Create strategic          operational value
                                                                                      value
31.           Drive Impact Investing in the Kingdom and Globally.


32.    Diversify Funding Sources and Attract Investments to PIF Projects.
                                                                                Diversify funding
                                                                                   resources
                                                                                                         Diversify funding and
33.            Initiate a Capital Market Program at PIF or its PCs.
                                                                                                       strengthen balance sheet

                                                                                Recycle capital for
34.           Execute IPO Program for Qualified PIF Investments.
                                                                                  investments


35.                Establish PIF Center for Economic Insight.


      Position PIF as a Digitized, Intellectually Leading Organization of the
36.
                                       Future.
                                                                                Strengthen PIF as          Strengthen PIF as
                                                                                  an institution             an institution
37. Build a Common, Unified PIF Culture in a Fast-Growing Organization.


38.    Strengthen PIF’s Mandate and Achievements Locally and Globally.




2021 - 2025                                                                                                                          64
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 67 of 126




 03
 Initiatives Details
 1. Grow the Kingdom’s Aerospace Sector and Solidify its Defense Sector
 Initiative Description:
 The defense and aerospace sector is of strategic importance to Saudi Arabia, showcasing the need for establishing domestic military
 industries at scale that are able to accommodate growing demand, providing opportunities for PIF along the Aerospace and Defense value
 chain, including military systems and equipment, parts, components, as well as MRO (Maintenance, Repair and Operations) services. PIF
 is currently studying setting up a new company to support the aviation sector aspirations locally and regionally.

 Opportunities:
     • Demand for local military sectors, including military systems, equipment, spare parts, and components, as well as MRO.
     • Growth in demand for new aircraft and design specifications.

 Progress:
     • Established the Saudi Arabian Military Industries (SAMI) to be the catalyst for unlocking the military industries sector, drive localized
       spend, and transfer key capabilities and know-how through its strategic partnerships with foreign OEMs.
     • Establishing the Helicopter Company as the first company to provide helicopter services in the Kingdom to meet many needs, such as
       medical air medical transport, private transport, air signage and tourist trips.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund
     • Localize cutting-edge technology and knowledge through the Public Investment Fund




65                                                                                                                         2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 68 of 126




2. Develop the Kingdom’s Automotive Capabilities by Localizing R&D and Manufacturing
of New-age Materials
Initiative Description:
The automotive industry’s development at the regional level represents an excellent opportunity for import substitution. Given that it is
one of the sectors with the largest GDP and job multiplier, it would boost non-oil GDP growth and employment.
The Battery Electric Vehicles (BEV) sector is currently witnessing vast and accelerating growth, and would signify an additional value
to PIF’s portfolio, which aims to achieve growing returns in the long term. This step intensifies PIF’s efforts to boost returns and bolster
economic diversification in the Kingdom. PIF is exploring investment opportunities to localize the automotive industrial ecosystem.

Opportunities:
  • The automotive industry is witnessing technological breakthroughs, including the production of new business models such as BEV,
    which have unlocked many opportunities in the sector.
  • PIF also initiated a project to partner with a global Li-Ion battery cells producer and localize the manufacturing of battery cells in the
    kingdom to support future expected demand from Battery Electric Vehicles (BEV).
  • NIDLP’s objective of localizing the automotive industry.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund
  • Localize cutting-edge technology and knowledge through the Public Investment Fund




  2021 - 2025                                                                                                                               66
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 69 of 126




 3. Promote the Kingdom into a Global Transport and Logistics Hub
 Initiative Description:
 The logistics sector is crucial to Vision 2030. This initiative aims to contribute to improving connectivity in logistics infrastructure in the
 Kingdom and its operations, providing services in the required time, boosting the capabilities of the logistics sector and increasing the
 participation of the private sector in industries that depend on logistics services.

 Opportunities:
     • The Kingdom has the potential to become a competitive trans-regional global logistics hub for air, sea and land logistics, leveraging
       its unique geographic location and tapping into globalized supply chains through the Red Sea.
     • A doubling of visitor traffic, in line with national tourism aspirations will introduce new major projects across the Kingdom.
     • The Kingdom’s objectives in this sector to increase export, re-export, and domestic cargo volumes.

 Progress:
     • The recent announcement of Elm’s acquisition of a 100% stake in Tabadul from PIF (Elm is also owned 100% by PIF). Tabadul is a
       pioneer in providing innovative digital integration solutions to the logistics sector, enabling the exchange of information, goods, and
       services across government and private businesses including customs, ports, and the aviation sector. PIF will coordinate with relevant
       stakeholders in this regard.
     • Staying at the forefront of technological developments by monitoring opportunities in innovative transport solutions.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Localize cutting-edge tech and knowledge through the Public Investment Fund
     • Build strategic economic partnerships through the Public Investment Fund




67                                                                                                                         2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 70 of 126




4. Enable the Growth of Kingdom’s Food and Agriculture Sector to Help Achieve a
Sustainable Domestic Food Production System, Diversify External Food Supply Sources
and Ensure Food Security Resilience
Initiative Description:
The global packaged food market is a SAR ~9 trillion1 growing market with shifting trends. The initiative aims to stimulate the growth of
the food and agricultural sector in the Kingdom, cementing Saudi Arabia’s position as a hub for the Halal industry and distribution center
to the world, leveraging existing and new partnerships with leading players in different industries.

Opportunities:
  • Saudi Arabia is the second largest global packaged food market within MENA (~SAR 74Bn), growing at 5% per annum2, driven by a
    young and increasingly active population, more economical private labels, and healthier product offerings.
  • Certain growing methods such as aquaculture, water-efficient agriculture technologies (hydroponics), or alternative proteins are
    growing, benefiting from consumer trends.
  • Specific growing methods (for example, NIDLP has a production target of 600k tons3 through aquaculture by 2030).

Progress:
  • SALIC continues to manage its operations and efficient specialized investment in the field of agricultural and animal production; to
    achieve profits within the approved strategy of the company.
  • Acquired stakes in Almarai company.
  • Acquired stakes in Americana company.
  • Final studies were conducted to establish some projects that depend on localizing technology and availing of local resources and
    agricultural derivatives in coordination with the Ministry of Environment, Water, and Agriculture.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund
  • Localize cutting-edge technology and knowledge through the Public Investment Fund
  • Build strategic economic partnerships through the Public Investment Fund




  2021 - 2025                                                                                                                           68
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 71 of 126




 5. Solidify the Kingdom’s Position as a Leader in The Construction and Building
 Components and Services for the Real Estate Sector
 Initiative Description:
 As part of PIF’s efforts to diversify the Saudi economy, this initiative aims to solidify the Kingdom’s position as a leader in the construction
 and building components and services for the real estate sector. Such measures will secure the supply chain of real estate projects, focusing
 on strategic products and services, heavy machinery, concrete, cement, tiles, etc.

 Opportunities:
     • Boost local content in non-oil sectors.
     • BoP’s objectives of developing non-oil exports and local content and improving the balance of services.
     • Explore potential investment opportunities in other areas such as heavy machinery, elevators, windows, doors, construction
       chemicals, etc.
     • Invest SAR ~3 billion to secure the supply chain of priority products and services in the next 10 years.

 Progress:
     • PIF has launched several Real Estate development new companies in Saudi Arabia the last three years, with several more in the
       pipeline.
     • Established Saudi “Pecsa” Company, in partnership with POSCO, to invest in the contracting sector.
     • Established JV with “Katerra” to transfer offsite construction technology in Saudi Arabia: initial phase includes building 4,140
       individual homes across the Kingdom.
     • Acquired 40% of Aramco-Jacobs JV “Jasara” specializing in construction project management services.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Localize cutting-edge technology and knowledge through the Public Investment Fund




69                                                                                                                          2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 72 of 126




6. Diversify and Enrich Entertainment, Leisure and Sports Experiences in the
Kingdom to Create a More Vibrant Society
Initiative Description:
A growing global middle class and the availability of low-cost carriers drive increase in global travel activity. This initiative aims to diversify
and enrich the Kingdom’s tourism and entertainment experience to build a more vibrant society and solidify the sports sector’s economic
and social role on all levels.
The Kingdom is focused on developing the entertainment, leisure and sports sector by creating new destinations and digitizing gaming
content, to grow internal tourism and reach its target of overnight visitors by 2030. Developing the Entertainment, Leisure and Sports sector
is a collective initiative that requires the collaboration of many government and semi-government entities. A sustainable Entertainment,
Leisure, and Sports industry will provide significant job creation opportunities and allow Saudi Arabia to regain most leaked value of
entertainment spending abroad.
PIF’s hotel pipeline of approximately 136,000 hotel rooms is to go live by 2030. Further down in the value chain, closer to the end customer,
PIF is exploring a go-to B2C online booking platform for hotels, flights, adventure experiences, and religious travel bookings specialized
in Saudi Arabia.
The sports sector is one where PIF assessing its investment opportunities in line with its investment mandate and assessment criteria.

Opportunities:
  • Over the past five years, within the entertainment industry, the fastest-growing segments have been personal entertainment, theme
    parks, and recreational sports.
  • Interfacing of emerging technologies like Augmented Reality (AR) Virtual Reality (VR) with entertainment offerings.
  • The Kingdom’s current focus on developing the entertainment, leisure and sports sector by creating new destinations.
  • Saudi Arabia has a national ambition to increase international and domestic overnight visitors from 41M to 120M tourists annually
    by 2030.




  2021 - 2025                                                                                                                                    70
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 73 of 126




 Progress:
     • PIF has invested through one of its companies (Saudi Entertainment Ventures Co. or SEVEN) to improve citizens’ entertainment
       experience in the Kingdom by offering unique products, such as cinemas, entertainment clusters, theme parks and theaters.
     • PIF will continue to grow the entertainment offerings through SEVEN. The focus going forward will be developing intellectual
       property by interfacing with the media sector’s ambition in Saudi Arabia. Also, technological advancements such as Artificial Reality/
       Virtual Reality will be integrated with SEVEN’s offerings to enrich the consumer experience.
     • PIF and MoS mutually agreed to a collaboration model, whereby close engagement is assured from both sides to assess investment
       opportunities in line with PIF investment mandate and assessment criteria.
     • PIF sponsored several activities to solidify its role in empowering and unlocking new sectors, such as sports, entertainment,
       and tourism. PIF is also exploring opportunities to tap into the Red Sea and Mediterranean cruise market by establishing cruise
       infrastructure and operations, which includes stations and seafronts, in addition to building a fleet of marine vessels.
     • PIF sponsored the historic “Clash on the Dunes” at Diriyah, the Formula E, and the Saudi International Golf Championship.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund
     • Localize cutting-edge tech and knowledge through the Public Investment Fund




71                                                                                                                       2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 74 of 126




7. Support the Growth of the Financial Sector; a Key Enabler of the Kingdom’s
Vision 2030
Initiative Description:
The financial sector’s progressive growth is a key enabler of Vision 2030. This initiative aims to support the growth of leading financial services
agencies, enabling them to transform into a cashless community, and contributing to their ambitions consistent with the “Financial Sector
Development Program.” PIF will join forces with SAMA, SIDF, and other relevant entities in line with the National Fintech Strategy.

Opportunities:
  • The Financial Services sector in the Kingdom is expected to grow significantly by 2030, as SME financing from banks in Saudi Arabia
    is expected to grow from 5.7% in 2019 to 20% by 2030.
  • The Financial Services sector contribution in Saudi Arabia to GDP is also expected to grow from 4.3% in 2019 to 4.7% by 2030.

Progress:
PIF portfolio companies have already made significant achievements to support these objectives, for example:
  • Tadawul completed the successful Initial Public Offering (IPO) of Saudi Aramco in 2019.
  • National Commercial Bank (NCB) became Saudi Arabia’s leader in online/mobile penetration with 50%+ of digital users to total
    active customers.
  • Samba successfully signed with the Saudi Industrial Development Fund (SIDF) the “Letters of Credit Facility Agreement” to facilitate
    the procurement of fixed assets.
  • Riyad Bank recently was named “The fastest growing bank in 2019 within Arabian Business in the Kingdom.”
  • Gulf International Bank (GIB) Saudi Arabia entity was established from being a single branch. Saudi Arabia’s ownership is 50/50
    between PIF and GIB Bahrain.
  • Saudi Real Estate Refinancing Company (SRC) signed an agreement with the Public Pension Agency (PPA) to acquire a mortgage
    portfolio worth more than SAR 3.0 billion4. The deal is the Kingdom’s largest ever housing real estate refinance transaction.
  • Samba Group and NCB merged, transferring the group’s assets and liabilities to NCB. This deal formed a financial facility with an asset
    value of SAR 837 billion, and a market share of around 30%.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund




  2021 - 2025                                                                                                                                    72
                Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 75 of 126




 8. Invest Opportunistically Across Diversified Sectors
 Initiative Description:
 Diversified sectors are those in which PIF will explore opportunities in promising industries, including security, oil-field services and
 equipment, and industrials (such as energy, and chemicals). This initiative aims to diversify investments between different sectors leading
 to achieving the goals of NIDLP (National Industrial Development and Logistics Program). In the future, this initiative could be expanded
 to include other sectors.

 Opportunities:
     • The security industry is increasingly more relevant in today’s world as many current and emerging threats come in different forms,
       involving computer networks and new technologies and traditional physical security.
     • The oil-field services and equipment industry represents a lucrative market, globally, for upstream equipment, components, other
       supplies and professional services to companies specializing in oil and gas exploration and production.

 Progress:
     • Established the National Company for Security Services (SAFE), which aims to develop and promote the sector of private security
       services in the Kingdom by providing a set of services that are in line with the best standards and applied technologies.
     • Grew the scale and capabilities of TAQA to get into premium well services operations and become a leading regional company in this
       industry.
     • Activated “Dussur” role as a strategic investor in developing promising industries in the Kingdom.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund
     • Localize cutting-edge tech and knowledge through the Public Investment Fund




73                                                                                                                      2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 76 of 126




9. Support the Growth of the Metals and Mining Sector; a key Enabler of the Kingdom’s
Vision 2030
Initiative Description:
Saudi Arabia is endowed with healthy mineral reserves that are currently under-explored. The metals and mining sector is one of the most
promising, so Saudi Arabia strives to increase the sector’s economic contribution as part of Vision 2030, making mining the third pillar of
industry alongside oil and gas and petrochemicals.
PIF’s role in enabling the goals set out in Vision 2030 for the sector will be through Ma’aden (Saudi Arabian Mining Company). This
initiative is in line with NIDLP’s goal of making Saudi Arabia a leading producer and exporter of fertilizers.

Opportunities:
  • The size and attractiveness of the global mining sector.
  • Saudi Arabia is endowed with healthy mineral reserves.
  • As part of its Vision 2030, the Kingdom is endeavoring to take many Sector structural reforms to facilitate private sector investment
    and intensify exploration.

Progress:
  • Increase mineral exploration activities by deploying the latest digital technologies.
  • Commercial operation of new (Ma’aden) projects in the fertilizer, aluminum and gold sectors.
  • Completed the initial stages of developing future growth projects in various mining sectors.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Localize cutting-edge tech and knowledge through the Public Investment Fund




  2021 - 2025                                                                                                                            74
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 77 of 126




 10. Leverage the Kingdom’s Natural Potential to Grow the Utilities and Renewables
 Sector
 Initiative Description:
 The Utilities and Renewables sectors have become increasingly relevant for the world today, as the United Nations defined “Climate Action”
 and “Affordable and Clean Energy” as two of the sustainable developmental goals (SDGs) for the world through until 2030. This initiative
 is expected to increase Saudi Arabia’s domestic capacity in utilities and renewables, and adopt clean technologies to reduce the Kingdom’s
 carbon footprint while maximizing financial return and developmental impact.
 The Kingdom has already set ambitious targets for the Utilities and Renewables sector, with the 2030 target of building renewable energy
 capacity of 58.5 Giga watts. 70% of the renewable energy development projects will be developed under the umbrella of PIF to drive the
 growth of Saudi Arabia renewable energy capacity and localize renewable technologies.
 PIF will also be playing an integral role in developing the waste management sector and becoming a key enabler to private sector players by
 driving projects and investments into the sector. PIF mandate complements the Kingdoms’ aspiring targets in waste management, where the
 landfill diversion rate is expected to gradually increase to 82% by 2035.

 Opportunities:
     • Local energy consumption in Saudi Arabia is expected to increase significantly by 2030.
     • Renewable energy sources are already cost-competitive with conventional energy, making them an attractive area for PIF from a
       development and manufacturing perspective.
     • Building the Kingdom’s solar and wind energy capacity and developing the value chain in industries related to solar and wind energy
       in the Kingdom (manufacturing equipment such as solar cells, models, wind turbines, etc.).
     • Expanding SIRC activities to improve the recycling rate of waste in the Kingdom, converting waste into energy, and expanding the
       customer base in both municipal waste and industrial/hazardous/electronic waste.
     • Promote the growth of (Tarshid) and adapt its operating model to evolve over time, enabling it to increase in scope and size.

 Progress:
     • Acquired stakes in ACWA Power: a developer, investor, and power generation operator and desalinated water plants.
     • Established the Saudi Investment Recycling Company (SIRC). The company is active in managing different waste types, such as
       construction and demolition waste, municipal solid waste, industrial hazardous waste, electrical and electronic equipment waste.
       SIRC achieved a significant milestone in 2019 by acquiring GEMS, a leader in industrial hazardous waste.
     • Set up National Energy Services Company Tarshid in 2017 to catalyze a more energy-efficient Saudi Arabia. Tarshid aims to be a
       pioneer in the energy efficiency field, building toward a more sustainable future and diversifying sources of income for the local
       economy.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund
     • Localize cutting-edge tech and knowledge through the Public Investment Fund
     • Build strategic economic partnerships through the Public Investment Fund



75                                                                                                                      2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 78 of 126




11. Stay at the Forefront of Innovation to Improve the Healthcare Sector
Initiative Description:
Healthcare is an essential priority sector in Saudi Arabia, with enormous opportunities for growth. PIF seeks through this initiative to
become a vital enabler of the sector and drive the utilization and alignment across healthcare services and products in collaboration with
the private sector.

Opportunities:
  • The global healthcare market has projected significant growth historically at a CAGR of 7.3% (2014-2018) and is expected to grow at
    8.9% CAGR until 20225, driven by rapid growth in the elderly population, strong economic growth in emerging markets, and health
    insurance reforms globally. Within healthcare, the biggest segment is healthcare services with a CAGR of +9% globally6 with a high
    focus of involvement of breakthrough research and clinical facilities to improve and transform the healthcare industry across the
    world.
  • Saudi Arabia and the GCC has strong demand for treating high-prevalence disease.

Progress:
PIF’s National Unified Procurement Company portfolio has actively contributed towards the goal of localizing the pharma industry in
Saudi Arabia:
  • Signed Memorandum of Understanding (MoU) with Ministry of Defense (Medical Services) to execute the mandate regarding
    procurement, contract management, and budget transfer.
  • Agreed with Center of Spending Efficiency (CSE) for NUPCO to be the strategic purchasing unit in the medical field.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund
  • Localize cutting-edge tech and knowledge through the Public Investment Fund
  • Build strategic economic partnerships through the Public Investment Fund




  2021 - 2025                                                                                                                           76
                Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 79 of 126




 12. Develop the Kingdom’s Innovation Capabilities by Localizing the Technology
 Sector and Developing the Telecom & Media Sector
 Initiative Description:
 Given the preeminent influence of the media and telecommunications sectors’ growth in the Quality of Life program, this initiative intends
 to support the Kingdom as a globally competitive hub of technology, media and telecom. To achieve such objectives, PIF will closely work
 with its portfolio companies to develop opportunities in various sectors by working with all relevant authorities.

 Opportunities:
     • Companies worldwide are increasing spending on technology as digital transformation can increase companies’ efficiency and
       achieve competitive advantage.
     • National Transformation Program (NTP) in Vision 2030 aims to digitally enable all economic sectors, such as manufacturing,
       government, healthcare, banking financial services, and insurance (BFSI).
     • Media and telecommunications are also growing rapidly and playing an essential part in the Technology, Media, and Telecom (TMT).

 Progress:
     • The Saudi Information Technology company (SITE) was established to design, develop, and operate secure digital computing
       environments and secure cybersecurity and solution for vital government and private entities.
     • Elm signed a share purchase agreement to acquire Tadabul, forming a national champion in IT services sector.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Localize cutting-edge tech and knowledge through the Public Investment Fund




77                                                                                                                     2021 - 2025
         Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 80 of 126




13. Unlock the Development and Growth of the Retail and Consumer Goods Sector
Initiative Description:
The initiative is expected to enable the development of the retail and consumer goods sector through the continued growth of noon as a
national e-commerce champion that can compete globally and as a regional powerhouse. Beyond core e-commerce, this initiative aims
to support the development of noon as the “Digital Platform of the Arab World” - a synergistic ecosystem of digital services around core
e-commerce ranging from Fintech services, digital consumer services, digital entertainment and media to digital advertisements.
Additionally, combined with other planned improvements in the logistics sector, this initiative aims to further grow the e-commerce
logistics ecosystem in the region, continually raising the bar for the quality of delivery and order fulfillment.

Opportunities:
  • The total MENA e-commerce market is projected to grow to approximately SAR 420 billion by 20307.
  • Saudi Arabia features the largest e-commerce market in the GCC and MENA region.

Progress:
noon continues as a national e-commerce champion that can compete globally and a regional powerhouse, enabling the Kingdom to
position itself in the growing MENA e-commerce market strongly. Among the most prominent efforts it has undertaken:
  • noon sources millions of products locally and internationally while providing an enabling marketplace platform for local independent
    sellers and distributors.
  • noon’s website and mobile applications attract hundreds of millions in online traffic annually, process payments through its payment
    gateways, and are instrumental in driving digital payments uptake across the region, enabling the digital economy.
  • noon has built one of the largest and most efficient logistics networks in MENA, operating multiple large-scale warehouses and one
    of the largest delivery fleets.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Build strategic economic partnerships through the Public Investment Fund




  2021 - 2025                                                                                                                         78
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 81 of 126




 14. Develop Real Estate Projects in the Central Sector
 Initiative Description:
 This initiative aims to increase the livability and competitiveness of cities around the Saudi capital, by developing new forms of urban
 living, centers for business, infrastructure projects, and new destinations by taking advantage of the natural, cultural and historical
 resources of the Kingdom.
 This initiative covers more than 10 projects, and it presents, for example:
     • Modern forms of office space.
     • New improved forms of living (vertical living, suburban living).
     • New daily urban destinations in major cities.
     • New logistics/industrial cities.
     • Tourism attractions leveraging the historical and cultural heritage.

 An overview of some of the key projects encompassed by this initiative:
     King Abdullah Financial District:
       King Abdullah Financial District is planned to be Saudi Arabia’s major central business district and a global center of commerce and
       finance, spanning over +3M sqm of GLA. Since PIF acquired the project, its strategy has been revised to target more diversified business
       sectors and encompass a more mixed-use offering, enabling the business activity it ambitions to host. It plans to offer incentives to its
       corporate tenants, such as fast business setup by regulatory agencies facilitating visa and company registration. For its broader Saudi
       and non-Saudi community, KAFD will offer new forms of urban high rise working and living outdoor retail, food and beverage, and
       entertainment for citizens and residents.

 Overall, the initiative will help PIF Portfolio Companies in supporting:
     • QoL objective of developing the tourism sector.
     • NIDLP objective of increasing the percentage of local content in non-oil sectors.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund




79                                                                                                                         2021 - 2025
              Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 82 of 126




15. Develop Real Estate Projects in Western Sector
Initiative Description:
This initiative aims to increase the livability and attractiveness of prominent Saudi cities in the Western sector, including areas around
Makkah, Madina and Jeddah by developing new forms of urban living, improving access to leisure, entertainment and sports, expanding
the Kingdom’s infrastructure networks, and launching new destinations by taking advantage of the natural, cultural and historical
resources.
This initiative covers more than 10 projects and it presents, for example:
  • Increased and upgraded hospitality, retail offering for domestic and international pilgrims.
  • Tourism attractions leveraging the historical and cultural heritage of the Kingdom (e.g., UNESCO sites) as well as unique natural
    resources (mountain or sea tourism).
  • Newly improved forms of living (downtown living).
  • New daily urban destinations in major cities.
  • New logistical and industrial cities.

An overview of some of the key projects encompassed by this initiative:
  New Jeddah Downtown:
    NJDT is a mixed-use development in the coastal city of Jeddah, with hospitality, residential, entertainment, and office spaces aimed
    at creating a new modern downtown for the city. The project is planned to develop 5M sqm of prime land along Jeddah’s waterfront.
    A true mixed-use large-scale development, NJDT will deliver +15k residential units, +3.5k hotel keys, +150k sqm of office space and
    +200k sqm of retail space.

Overall, the initiative will help PIF Portfolio Companies in supporting:
  • QoL’s objectives of preserving the Kingdom’s Islamic, Arab, and national heritage and developing the tourism sector.
  • NIDLP’s objective of increasing the percentage of local content in non-oil sectors.
  • Ministry of Tourism’s objective of improving and developing tourist sites.
  • DARP’s objectives if facilitating hosting more Umrah performers, easy access to the Two Holy Mosques, improving the quality of Hajj
    and Umrah services provided, and enriching the spiritual and cultural experience of Hajj and Umrah visitors.
  • NTP’s objective of developing the tourism and national heritage sectors.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund




       2021 - 2025                                                                                                                           80
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 83 of 126




 16. Develop Real Estate Projects in Southern Sector
 Initiative Description:
 This initiative aims to increase the livability, competitiveness and attractiveness of prominent Saudi cities in the Southern sector, including
 areas around and within the Assir region, by developing new forms of urban living, improving access to leisure, entertainment, and sports,
 expanding the Kingdom’s infrastructure networks, and launching new destinations by taking advantage of the natural, cultural and
 historical resources.

 This initiative covers more than 4 projects, and it delivers, for example:
     • Increased and upgraded hospitality, retail and entertainment offering for domestic and international tourists.
     • Tourism attractions leveraging the historical and cultural heritage as well as unique natural resources (mountain or sea tourism).
     • New and Improved forms of living (second homes).
     • New centers of gravity for a large part of the Saudi population.

 Overall, the initiative will help PIF Portfolio Companies in supporting:
     • QoL’s objective of developing the tourism sector.
     • NIDLP’s objective of increasing the percentage of local content in non-oil sectors.
     • Ministry of Tourism’s objective of improving and developing tourist sites.
     • NTP’s objective of developing the tourism and national heritage sectors.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund




81                                                                                                                         2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 84 of 126




17. Develop Real Estate Projects in Northern and Eastern Sectors
Initiative Description:
This initiative aims to increase the livability and attractiveness of prominent Saudi cities in the broader Northern region, from east to west,
by developing new forms of urban living, improving access to leisure, entertainment, and sports, expanding the Kingdom’s infrastructure
networks, and launching new destinations by taking advantage of the natural, cultural and historical resources.

The initiative covers more than ten projects, and it delivers, for example:
  • Increased and upgraded hospitality, retail, and entertainment offering for domestic and international tourists.
  • Tourism attractions leveraging the historical and cultural heritage of the Kingdom, as well as unique natural resources (agri, desert,
    mountain or sea tourism).
  • New daily urban destinations in major cities.




An overview of one of the key projects encompassed by this initiative:
  AMAALA
    AMAALA is planned to be one of the Kingdom’s most luxurious projects, expected to place the Kingdom at the forefront of the luxury
    tourism market. It is planned to deliver a unique experiential offering focused on wellness and sport, as well as sun, sea and living.
    Once completed, the project will offer over +2.5k luxury hotel keys, allowing guests to explore unique enclaves along the Red Sea
    coast. Over its 13,000 Sqkm of land, the project will develop three main anchors:
       • The Triple Bay (focused on wellness and sports).
       • The Island (focused on luxury living).
       • The Coastal Development (focused on global arts, environment, and cultural events).

Overall, the initiative will help PIF Portfolio Companies in supporting:
  • QoL’s objective of developing the tourism sector.
  • NIDLP’s objective of increasing the percentage of local content in non-oil sectors.
  • Ministry of Tourism’s objective of improving and developing tourist sites.
  • NTP’s objective of developing the tourism and national heritage sectors.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund.




  2021 - 2025                                                                                                                                82
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 85 of 126




 18. Support the Development of the Real Estate Sector Through the Setup of New
 Companies and Centers of Excellence
 Initiative Description:
 This initiative focuses on developing new and promoting existing companies across all real estate sector verticals, from development,
 contracting, servicing, to operating companies, to help foster the sector’s development locally. Additionally, it promotes best practices and
 synergies within PIF projects’ portfolio by bringing in industry-leading knowledge and centers of excellence within PIF.

 Progress:
     • PIF currently oversees a series of investments across the value chain of real estate development. These companies include AlAkaria,
       Dur Hospitality, and others.
     • Launching a series of new companies in the sector, such as the Real Estate Registration Services Company (RERSC).
     • Launching and expanding PIF’s centers of excellence, enhancing best practices, and cultivating collaborations across its portfolio.

 This initiative will help PIF Portfolio Companies in supporting:
     • NIDLP’s objective of increasing the percentage of local content in non-oil sectors.
     • Ministry of Tourism’s objective of improving and developing tourist sites.
     • NTP’s objective of developing the tourism and national heritage sectors.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund
     • Build Strategic Economic Partnerships through the Public Investment Fund




83                                                                                                                       2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 86 of 126




19. Develop NEOM Project
Initiative Description:
NEOM, on the Red Sea in northwest Saudi Arabia, is PIF’s largest project. The commencement of NEOM in 2019 was a significant
achievement for PIF. With a name that means “new future,” NEOM is being built when the world needs fresh thinking and new solutions.
To that purpose, NEOM is expected to be a living laboratory, where new sectors and technologies are launched – a place where
entrepreneurship and innovation will chart the course for a new future.
NEOM’s strategy is structured around 16 sectors that can bring these elements to life: energy, water, transportation, biotechnology, food,
manufacturing, media, entertainment, culture and fashion, technology and digital sciences, tourism, sports, design and construction,
Financial services, health and well-being, education, and livability. “The Line” project was intruded as the first of NEOM’s mega-development
projects, it brings to life a dream city with a length of 170 km. “The Line” strives to foster an attractive environment for inventors,
entrepreneurs, and investors, with a future vision centered on people and nature, and a city unmatched in any of the global smart cities.

The initiative will help PIF’s Portfolio Company Neom in supporting:
  • QoL’s objectives of developing Saudi contribution to arts and culture; developing and diversifying entertainment opportunities to
    meet the needs of the population, and developing the tourism sector.
  • NIDLP’s objectives of localizing promising industries, creating special zones and rehabilitating economic cities; and increasing local
    content in non-oil sectors.
  • MCIT’s objective of supporting the growth of domestic investment in the communications and information technology sector.
  • NTP’s objective of developing the tourism and national heritage sectors.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund
  • Localize cutting-edge tech and knowledge through the Public Investment Fund
  • Build strategic economic partnerships through the Public Investment Fund




  2021 - 2025                                                                                                                              84
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 87 of 126




 20. Develop the Red Sea Project
 Initiative Description:
 The Red Sea Project will be an exquisite sanctuary offering an indulgent experience, seamlessly customized to the unique needs of each
 visitor.
 Setting new standards in sustainable development, the Red Sea Project will boost the Kingdom’s position on the global tourism map. It will
 also uncover an array of opportunities for companies to be part of one of world’s fastest-growing tourism markets.

 This initiative will help the Red Sea Development Company in supporting:
     • QoL’s objectives of developing Saudi contribution to arts and culture; developing and diversifying entertainment opportunities to
       meet the needs of the population, and developing the tourism sector.
     • NIDLP’s objectives of creating special zones and rehabilitating economic cities; and increasing the percentage of local content in non-
       oil sectors.
     • NTP’s objective of developing the tourism and national heritage sectors.
     • Ministry of Tourism’s objectives to improve and develop tourist sites.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Unlock new sectors through the Public Investment Fund
     • Build Strategic Economic Partnerships through the Public Investment Fund




85                                                                                                                        2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 88 of 126




21. Develop Qiddiya Project
Initiative Description:
Qiddiya will be the capital of entertainment, sports and the arts in Saudi Arabia; an integrated destination offering immersive experience,
and is one of PIF’s Giga-projects.
Qiddiya will be built around five cornerstones:
  • Parks and attractions.
  • Sports and luxury.
  • Movement and transportation.
  • Culture and the arts.
  • Nature and the environment.

Furthermore, Qiddiya has already launched several activities across key sectors of focus:
  • Qiddiya’s master plan has been developed, with the first phase scheduled to open in 2023. It will include more than 60 projects
    and more than 300 activities to cultivate creativity, arts, hospitality, culture, entertainment and sports. The second and subsequent
    phases are planned to expand Qiddiya’s offerings and increase the project’s capacity to enable sustainable growth of the project. and
    to ensure repeat visitors.
  • There are plans to link the project to Riyadh Airport via the metro, and other public transport in Riyadh.
  • The company focuses on effective waste management by reducing waste quantities in the first place, reusing and recycling waste,
    increasing biodiversity on Qiddiya lands, and promoting optimal and efficient use of water resources by reducing consumption,
    using and reusing water efficiently, and creating a pleasant outdoor ambiance.
  • Launched a scholarship program focused on entertainment-related disciplines at some of the most prestigious universities in the world.
  • Unveiled Six Flags design, one of the key entertainment facilities.

This initiative will help support:
  • QoL’s objectives of promoting sports activities in the community; developing and diversifying entertainment opportunities to meet
    the needs of the population; and developing the tourism sector.
  • NIDLP’s objectives of creating special zones and rehabilitating economic cities; and increasing the percentage of local content in non-
    oil sectors.
  • Ministry of Tourism’s objective of improving and developing tourist sites.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Unlock new sectors through the Public Investment Fund
  • Build Strategic Economic Partnerships through the Public Investment Fund




  2021 - 2025                                                                                                                            86
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 89 of 126




 22. Develop ROSHN Project
 Initiative Description:
 ROSHN is one of PIF’s flagship projects, aimed at increasing home ownership levels in Saudi Arabia. ROSHN is planned to deliver
 hundreds of thousands of residential units across the Kingdom in Riyadh, Makkah, Aseer and Eastern Region. ROSHN will offer true
 community living, developing complete townships, that will include a comprehensive real estate asset mix, providing retail, entertainment
 and workspace for the communities it will host.
 Overall, ROSHN is planned to develop more than 395,000 residential units over a land of more than 181 Sqkm, hosting +2M residents.
 ROSHN is expected to directly contribute to more than 212 B SAR to Saudi Arabia’s GDP by 2030, creating more than 101k direct jobs by
 2030.
 The project is also one of the main instruments that were created to achieve the objectives of the housing program, as ROSHN’s mission
 is to support, enable, and facilitate the increase in the share of homeownership among Saudi citizens to 70% by 2030. The project has
 complimentary activities because as a master planner and community developer, ROSHN works to revitalize and regulate the housing
 market landscape through collaborating with the private sector. ROSHN’s strategy is primarily focused on enabling more effective
 development while allocating housing supply to best serve market demand; To serve high-end housing and affordable housing in addition
 to public housing.

 This initiative will help support:
     • QoL objective of developing the tourism sector.
     • NIDLP’s objective of increasing the percentage of local content in non-oil sectors.
     • The Housing Program: By joining-forces other entities to boost effectiveness and speed in the delivery of housing in the market.
       Such measures will help solve and facilitate the regulatory framework when needed, to remove potential barriers to the handover of
       hundreds of thousands of houses to Saudi citizens in the next decade.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Build strategic economic partnerships through the Public Investment Fund




87                                                                                                                    2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 90 of 126




23. Invest Thematically in Megatrends
Initiative Description:
PIF invests strategically across different investment themes to follow sources of growth, including global demand, innovation, value
creation, and others.
There are a number of megatrends that can shape PIF’s international portfolio under this initiative, such as:
     • Shifting demographics:
       Trends such as the rise of middle class in emerging markets, aging and growing population, and changes in consumer habits.
     • Sustainable investing:
       Climate change and de-carbonization, resource scarcity, waste and pollution issues.
     • Urbanization and new mobility:
       Rise of mega-cities, need for enhanced infrastructure, and new ways of transportation.
     • Increased connectivity:
       Digital transformation, global supply chain, interrelated computing systems, sharing economy.
     • Tech and Innovation:
       Big data and analytics, robotics and automation, business model innovation (BMI).

PIF follows an adaptable and flexible approach to achieve this initiative through investing in equities, other financial securities and
instruments both private and public in various asset classes including real estate and infrastructure investment via: direct, indirect funds,
co-investments, country funds, sector funds, platforms and/ or others.

Direct Strategic Objectives:
  • Grow the assets of the Public Investment Fund
  • Build strategic economic partnerships through the Public Investment Fund




  2021 - 2025                                                                                                                              88
                Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 91 of 126




 24. Invest Opportunistically Through International Partnerships
 Initiative Description:
 PIF invests opportunistically through long term international partnerships. This initiative extends the Kingdom’s global reach and
 contributes to PIF Program objectives of growing the assets of PIF strategic economic partnerships.
 The initiative contributes to strengthening PIF’s position which enables PIF to gain access to market insights and unique opportunities in
 non-core investment themes.
 PIF follows an adaptable and flexible approach to achieve this initiative through investing in equities, other financial securities and
 instruments both private and public in various asset classes including real estate and infrastructure investment via: direct, indirect funds,
 co-investments, country funds, sector funds, platforms and/ or others.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund
     • Build strategic economic partnerships through the Public Investment Fund


 25. Diversify Exposure of PIF International Portfolio
 Initiative Description:
 PIF supports the Kingdom’s objective to diversify from oil and therefore its international investments should also be diversified across
 geographies, sectors, themes, currencies, asset classes, and others. A diversified portfolio exposure helps PIF’s portfolio to achieve an
 optimal level of risk-return balance. PIF follows an adaptable and flexible approach to achieve this initiative through investing in equities,
 other financial securities and instruments both private and public in various asset classes including real estate and infrastructure investment
 via: direct, indirect funds, co-investments, country funds, sector funds, platforms and/ or others.

 Direct Strategic Objectives:
     • Grow the assets of the Public Investment Fund




89                                                                                                                         2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 92 of 126




26. Enhance Supply Chain Security and Localization
Initiative Description:
This initiative aims to secure the supply chain of real estate (RE) products and services, and drive localization of these products and
services.
Given the magnitude of investments PIF is undertaking across its RE projects, PIF needs to secure the supply chain for RE projects in
addition to taking advantage of these projects’ scale to drive Construction and building industry localization through PIF and private sector
investment in the supply chain.
The initiative will yield multiple benefits to PIF and economic development impact for Saudi Arabia, including:
  • Ensuring the timely delivery of PIF strategic RE projects that drive and stimulate economic activity across the Kingdom.
  • Localizing a high percentage of the spending on RE projects, creating a ripple effect in the national economy.
  • Creating new opportunities for local private sector companies to build long term strategic supplier relationships with PIF, thereby
    enabling private sector growth and prosperity, building local capabilities and capacity, promoting local employment.
  • Creating new investment opportunities for the private sector to increase private sector participation in PIF projects and enable private
    sector growth.



27. Engage with the Private Sector
Initiative Description:
Private sector contribution is at around 40%8 of GDP, below global levels, with significant potential for PIF to support increased private
sector engagement and drive long term economic development for the Kingdom.
This initiative aims to increase private sector participation as an investor, financier, and supplier in PIF-led projects and PIF-led new sector
development initiatives.

This initiative will yield multiple benefits for PIF and economic development impact for Saudi Arabia, including
but not limited to:
  • Opening investment opportunities for the private sector and encouraging private sector crowd-in.
  • Opening opportunities for local private sector companies to build long term strategic supplier relationships with PIF, thereby
    enabling private sector growth and prosperity, building local capabilities and capacity, promoting local employment, and enabling
    the development of the SME sector.
  • Accessing to new investment flows from innovative investment vehicles offered to international investors, thereby capturing multiple
    benefits of increased FDI (e.g., increased capital flow, knowledge transfer).




  2021 - 2025                                                                                                                                 90
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 93 of 126




 28. Support Vision 2030 by Investing in Suitable Opportunities from other VRPs
 Initiative Description:
 As an investment powerhouse, PIF is not only one of the VRPs in Vision 2030 but also an enabler for other VRPs. Some of the VRPs that PIF
 will closely work with when developing investment strategy across different sectors.
 PIF’s program will collaborate with other programs, either directly or indirectly, as follows:
     • Direct cooperation: PIF is currently examining other program initiatives to identify possible forms of cooperation with it through its
       projects or its portfolio companies.
     • Indirect cooperation: PIF’s projects indirectly support achieving the goals of the Vision’s programs. The current investments in PIF’s
       companies and projects support the achievement of non-PIF initiatives.
 This collaboration will be periodic throughout the lifecycle of PIF Program (2021-2025) to include the above-mentioned programs and
 any updates to them or any other programs or entities in the initiative’s first phase. Such collaboration with VRPs allows PIF to identify
 and invest in opportunities across sectors in the Kingdom, that are also aligned with PIF’s strategy and investment requirements. Since
 there are many VRPs relevant to PIF’s sectors and investment initiatives, strengthening collaboration with other VRPs can help PIF identify
 potential investment opportunities across sectors, and stakeholders can work closely together to develop comprehensive sector strategies
 for the Kingdom.




91                                                                                                                       2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 94 of 126




29. Create Strategic and Operational Value Across PIF’s Portfolio Through the “PIF Way”
Initiative Description:
The initiative aims to build an interconnected network of PIF Portfolio Companies across geographies and sectors, focusing on increasing
collaboration and realizing synergies for Local Holding PCs via specialized internal teams and precise engagement models with portfolio
companies. In this initiative, PIF will also increase collaboration across both established, mature companies and new companies to support
their growth and create value at the portfolio level.

Progress:
PIF launched the “PIF Way” in the first edition of its annual Partners Forum in October 2019, which was attended by over 200 CEOs from
75 different portfolio companies along with PIF employees.
PIF’s objectives from the Forum:
  • To provide an opportunity for participants to understand major disruptions and transformations happening in different markets and
    geographies.
  • To introduce and reinforce the PIF Way – a mechanism for supporting and driving value creation.
  • To help businesses develop an effective governance structure, identifying and supporting new sources of growth and profitability,
    leveraging PIF’s infrastructure, and making the most of the advantages offered by PIF’s extensive local and global network of
    companies, thought leaders, investors, and government stakeholders.



30. Establish and Grow PIF’s Center for Governance to Drive Sustainable Value
Creation Through Board Representatives
Initiative Description:
The Center for Governance was established to ensure the continuity of support, guidance and development for PIF’s board representatives,
promote PIF’s role as an effective inciter of economic diversification in Saudi Arabia, and maximize the impact of PIF’s investments by
developing the governance of PIF’s portfolio companies.
The Center for Governance specializes in developing the skills of PIF’s employees and board representatives in portfolio companies to help
align the governance practices of Saudi companies with the best local and international practices. Governance practices also benefit from
experts and partnerships with institutes and international universities, that can offer an integrated set of services to the Center’s attendees.
These services include guidance, communication, and consultation services. The Center for Governance will also be a center of research
and studies where pioneering ideas related to corporate governance are developed and published through articles, podcasts, applications,
references, distinguished reports, and practical case studies.




  2021 - 2025                                                                                                                                 92
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 95 of 126




 31. Drive Impact Investing in the Kingdom and Globally
 Initiative Description:
 The global impact- investing sector has doubled in size over 2018-2020; currently at over 1,340 active impact investing organizations As
 such, PIF aims to take a leadership role on ESG within SWFs and the broader global investment community, which will in turn support the
 Kingdom in achieving its Vision 2030 targets on ESG9.

 PIF has already taken significant steps to achieve this goal, such as:
     • Being a founding member of the One Planet SWF Initiative.
     • Launching several internal initiatives, such as:
         1. Incorporating the Paris Climate Change Agreement in the investment decision process underway, in line with related Royal
            Decree issued in 2016.
         2. Referencing ESG in PIF Investment Policy Statement.
         3. Developing a Responsible Investing Policy focused on: integrating ESG factors in investment decisions, allocating capital to
            sustainable themes, actively engaging with portfolio companies on ESG, and screening out sectors and companies that are
            misaligned with values.
         4. Engaging with more than three of the largest PIF portfolio companies to incorporate ESG factors into their long-term strategies,
            capital allocation decisions, and day-to-day operations.




93                                                                                                                      2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 96 of 126




32. Diversify Funding Sources and Attract Investments to PIF Projects
Initiative Description:
This initiative aims to build an investment ecosystem around PIF portfolio companies. It includes:
  • Building the required capabilities at PIF or within its ecosystem to structure investment transactions/deals.
  • Launching and managing the supporting vehicles for such investments.
  • Expanding and deepening relationships between PIF and strategic partners/investors (local and international).
  • Further strengthening PIF’s institutional capabilities and its ability to manage investment partnerships.

For PIF and its portfolio companies, this initiative will:
  • Provide access to capital from the private sector and other strategic partners of PIF.
  • Give exposure to international domain expertise associated with such capital.
  • Signal the success and attractiveness of the projects.
  • Further position PIF and its companies as a partner of choice for strategic investments
  • Allow PIF to monetize assets and recycle capital as required by its strategic asset allocation and investment strategy.

For investors, this initiative will:
  • Provide access to a relatively untapped set of investment opportunities and diversify their portfolios.
  • Ultimately mitigate risks associated with investing in new companies and developments.


Ultimately, this initiative will fuel the investment ecosystem and expand its markets in terms of liquidity and depth, increasing FDI, private
sector engagement and participation of the broader Saudi population in its investment activities over the long term.




  2021 - 2025                                                                                                                               94
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 97 of 126




 33. Initiate a Capital Market Program at PIF or its PCs
 Initiative Description:
 PIF aims to become an active player in global debt markets and support the development of an active local market where it can tap into
 either at will for short or long-term liquidity and with a broad range of instruments. This initiative aims to further develop PIF’s funding
 strategy and execution capabilities at both PIF and portfolio company levels and enable PIF (or its portfolio companies) to participate
 in global and local debt markets. It will also support in expanding PIF’s debt raising capacity, to be used as a source of funding for PIF
 investments, in line with PIF’s funding strategy, instill cash flow management discipline, and optimize equity returns for PIF and its portfolio
 companies.

 Progress:
 PIF has already undertaken significant steps that are still underway to prepare its accounts and reporting so that if required, it could access
 the debt markets including:
     • Auditing its accounts, ensuring the required internal systems are in place.
     • Developing the required standard policies and procedures (e.g. disclosures policies and procedures).




95                                                                                                                          2021 - 2025
          Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 98 of 126




34. Execute IPO Program for Qualified PIF Investments
Initiative Description:
Initial Public Offerings (IPOs) are a common route for SWFs active in private markets to monetize their private holdings and continuously
recycle capital through their portfolios.
As such, PIF aims to become an active participant in both the local and international equity markets by listing its Saudi equity stakes after
ensuring each asset’s readiness for the public markets. This will further support the development of the Saudi stock exchange, Tadawul,
by growing the exchange’s total market capitalization, increasing the number of listed companies, and encouraging private sector and
international investor participation in Saudi markets. In parallel, the listing will also benefit the portfolio companies themselves through:
  • Access to additional sources of funding for future growth plans.
  • Closer public market scrutiny ensuring increased focus on stronger financials, governance and reporting.
  • Increased market visibility.
  • Provision of public currency for acquisitions – i.e. stock-funded acquisitions.
PIF has already a strong track record with several of its portfolio companies going public – such as NCB, STC, Alinma, and others.
Currently, in coordination with FSDP, PIF owns within its local equity portfolio, several companies at a stage of maturity and with a track
record strong enough to make good candidates for entering the public markets. Several of these companies are already at advanced stages
in the preparations for their eventual IPO that takes ~24-36 months to completeً .




  2021 - 2025                                                                                                                              96
                 Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 99 of 126




 35. Establish PIF Center for Economic Insight
 Initiative Description:
 This initiative aims to establish an Economic Insights Unit that will elevate PIF’s thought leadership in economic development and
 forecasting topics. On the local level, it will allow PIF to generate insights on the state of the economy, its forecasts under different
 scenarios and PIF’s impact. It will allow PIF to contribute to the Kingdom’s success as a major driver of economic impact, not only through
 its investments, but insights it generates around different areas and levers to unlock economic growth. It will also provide PIF decision-
 makers with leading macroeconomic insight and analyses to optimize financial and socio-economic returns and contribute to discussions
 with relevant local and international stakeholders.

 Progress:
     • Launched and ramped up, built capabilities in modeling, economic analysis tools, and relationships with other macroeconomic
       institutions in the Kingdom. The Unit hired internationally renowned economists and analysts as it is actively seeking to further grow
       the team.
     • Developed a VRP analysis of PIF’s expected economic impact until 2030. The analysis took into account a counterfactual situation (no
       PIF) and drove insights into net PIF effect as well as outlined the investments needed to drive the desired impact.
     • Designed and started implementing an EIU strategy including the definition of EIU roles, products and services provided to key
       stakeholder, and the design of enablers: operating model, data and tools, talent and organization structure.
     • Developed two economic models: PIF structural model and the now casting model. PIF model focuses on providing forecasts for key
       metrics of the Saudi economy (economic activity, labor market, foreign trade, investments, consumption, fiscal policy metrics, and
       others) while at the same time offering scenario analyses. The now casting model is a tailored econometric model focusing on most
       accurate prediction of GDP and its main components (sectoral GDP).
     • Set up Macroeconomic Advisory Group (MAG), an advisory body for CSD and NDD on macroeconomic topics consisting of five
       distinguished economic theorists and practitioners.




97                                                                                                                       2021 - 2025
        Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 100 of 126




36. Position PIF as a Digitized, Intellectually Leading Organization of the Future
Initiative Description:
Recent studies show that digital technology can have a material effect on fund performance – e.g. funds with effective Knowledge
Management systems realize gains estimated at ~10-15 bps of AUM10. Leading players in the industry acknowledge that digital can be
a trustworthy source to gain an edge. PIF aims to become a leader within the SWF ecosystem and the broader investment management
industry when it comes to digital capabilities, which will in turn be a major enabler that allows PIF to deliver on its mandate and the
broader Vision 2030 goals.

Progress:
  • Completing the infrastructure’s implementation by establishing the data center of PIF and launching a number of systems that support
    information technology operations, such as the enterprise resource planning (ERP) system, the project management system (EPM),
    and other investment and security systems.
  • Establishing an IT Disaster Recovery Center to build disaster management capabilities and business continuity.
  • Equipping the technological infrastructure for disaster management and business continuity.
  • Boosting the level of efficiency and effectiveness in performance by automating some administrative procedures and operational
    processes.
  • Elevate the digital capabilities by introducing and implementing different solutions such as the supplier self-service system, the
    procurement system for contracts and services, and the correspondence management System.




  2021 - 2025                                                                                                                         98
                Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 101 of 126




 37. Build a Common, Unified PIF Culture in a Fast-Growing Organization
 Initiative Description:
 PIF aims to build a common, unified PIF culture in a fast-growing organization, to strengthen alignment between shared values, goals,
 attitudes, and practices.

 Progress:
     • The success of PIF Graduate Development Program (GDP), where 160+ graduates have been trained and graduated from PIF’s
       Academy in cooperation with top universities and institutes such as the University of California, Berkeley and the AMT Institute,
       where they were trained in four specialized tracks which are: the general track, the project management track, the investment track
       and the Real Estate track.
     • Continuously offering internal and external training courses to PIF’s employees in cooperation with top training institutes such as the
       University of California Berkeley, London Business School and Harvard Business School. In 2019 alone, 42+ internal courses were
       offered, attended by 700+ employees. Over 689 external trainings were offered in partnership with top international institutions.
     • PIF was chosen as one of the five best educational work environments in the public sector in the MENA region11 by LinkedIn in light
       of PIF’s achievements in training and development programs.
 Overall, the initiative is expected to establish high standards of professionalism across the organization while shaping employees’
 perceptions, behaviors and understanding. It reinforces the sense of belonging amongst employees, and will attract, manage and engage
 best-in-class talent.



 38. Strengthen PIF’s Mandate and Achievements Locally and Globally
 Initiative Description:
 PIF has discovered and articulated its unique purpose. Now, it is important to activate it by officially launching and cascading it throughout
 PIF’s communications - locally and globally.
 To do so, PIF is planning to introduce coherent strategic communications across its internal and external audience groups. This includes
 various online and offline communication channels to ensure a consistent flow of information while showcasing PIF’s strengths and
 performance, and increasing positive coverage across prominent publications.
 Throughout all phases, the initiative relies on online (e.g. social media, PIF’s website, promoted content) and offline (e.g., outdoor
 advertising, articles as well as ads in journals and newspapers) channels to reach its audience.




99                                                                                                                        2021 - 2025
    Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 102 of 126




 Chapter Five
 An Inspiring Blueprint




2021 - 2025                                                                100
            Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 103 of 126




 01
 Optimum Use of the Kingdom’s Resources
 Saudi Arabia has a unique strategic location with a long ancient historical status. Its land is rich with huge and
 qualitative resources that formed as a result of several main factors, including the Kingdom’s economic and
 geographical position among the world countries connecting the three continents, in addition to its diversified
 terrain from far north to far south, and from the west coast to the east coast, in addition to its most important
 resource, the people who are strenuously working to build a prosperous future. These resources, which the PIF
 Program considers a true national wealth that entails diligence and optimal utilization. Therefore, one of the
 Fund’s local investment areas was to utilize the resources available in the Kingdom.

 PIF is also undertaking a number of initiatives to energize and engage the society in executing and implementing
 some initiatives and objectives by attracting and retaining highly qualified cadres, building future leaders in the
 fields of management and investment, and expanding expertise in the target sectors. Therefore, PIF focused on
 attracting the best talents from local and international markets and working diligently to develop its peoples.
 However, to optimize utilization of geographical resources, PIF was keen on utilizing the tourist attractions and
 the Kingdom’s historical and cultural heritage, such as UNESCO sites, in addition to distinctive natural resources
 such as mountain or marine tourism. Moreover, the Fund seeks to achieve optimal utilization of non-oil economic
 resources, such as mining, clean energy, military industries, entertainment, tourism, and other economic resources.




101                                                                                                2021 - 2025
       Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 104 of 126




02
Value for People
The economic activity comes to affirm a well-grounded fact. That economy infiltrates human food, drink, housing,
clothing and innate activity, and even their personal development, education, and achieving fair high quality
lifestyle for current and future generations. Hence, all ambitions, goals and Giga-projects pursued by PIF Program
aim to achieve a significant value that will reflect on citizens and future generations.

By reviewing the principles on which the Fund’s purpose is based, we will see a strong impact on the lives of
local and global people by aspiring to be an ambassador of inspiration to the world, and that all the decisions
it makes are aimed at improving the quality of human life worldwide. Through its vision, goals, deals and local
and international investments, PIF will ensure a comfortable life for current and future generations. Through its
tireless efforts, it will move towards drawing future features taking into account the human dreams and focus on
providing adequate and most comprehensive and diversified.

PIF has also taken into consideration through the various initiatives of its program enabling vivid and healthy life
with easy access to health services and enhanced opportunities for entertainment, tourism and cultural events,
providing opportunities to own adequate housing for Saudi families, and creating direct and indirect jobs, and
other values reflected and implications of the program’s initiatives and goals.




 2021 - 2025                                                                                                      102
            Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 105 of 126




 03
 Investing In The Future
 PIF Program has set its sights on investing in industries related to future sectors, represented by a specialized
 portfolio. PIF will work to localize these industries so that all expertise and assets are sustained for future
 generations.

 PIF’s investment activity seeks to create a stable Saudi economy and an attractive, stimulating environment
 for investors around the world. Giga-projects are highly future orientated; integrated ecosystems designed to
 transform the Saudi economy by stimulating overall growth in key non-oil sectors and generating significant
 value for PIF over the medium to long term.

 The future investments considered by PIF in its activities are mainly concentrated in sectors including aviation
 and defense, vehicles, modern research, development and manufacturing, tourism and entertainment, minerals
 and mining, utilities, renewable energy, technology localization, communications and media, real estate projects,
 military industries, e-commerce, modern global cities, recycling and logistics, investment in start-up funds, water,
 and energy. Such measures combined will unfold a better future for our country and society.




103                                                                                                 2021 - 2025
       Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 106 of 126




04
Glossary
The key terms used in PIF Program document:


  -          Term ‫ وممثلي الصندوق في مجالس إدارتها‬Definition
                                                  ‫على نطاق شركات املحفظة‬

       Sovereign Wealth       Investment funds established to manage the wealth and financial reserves of governments and states
  1
            Funds             and made up of diverse assets.

                              A set of responsibilities and practices carried out by the board of directors and executive management
  2       Governance          to provide strategic guidance, ensure that objectives are achieved and risks are managed properly, and
                              resources are used responsibly.
                              The total shares and investment bonds owned by the organization, which may be in different projects
  3   Investment portfolios
                              and companies.

        Gross Domestic        An economic indicator that measures the monetary value of total goods and services produced within
  4
        Product (GDP)         a geographical zone during a specified period of time.

                              Markets or countries that have some characteristics of developed countries, but do not meet their
  5    Emerging markets
                              efficiency and economic standards.

                              Sectors that are favorable for investment, such as agriculture, industry, energy, telecommunications
  6    Promising Sectors
                              and information technology, which are expected to grow and have an economic/ financial impact.

                              Activities related to anticipating and identifying challenges or threats that may affect organizations in
  7    Risk Management
                              various stages of investment, trading or marketing operations.
                                One of the most important fundamentals of governance, based on public participation and
  8      Transparency
                                awareness.
                                The resources owned by the organization having a certain value with economic and financial benefit
  9          Assets
                                in the future.
 10          CEDA               Council of Economic and Development Affairs
 11           VRP               Vision realization program
 12           QoL               Quality of Life Program
 13          NIDLP              National Industrial Development and Logistics Program
 14          MCIT               Ministry of Communications and Information Technology
 15           NTP               National Transformation Program



 2021 - 2025                                                                                                                              104
            Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 107 of 126




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105                                                                                               2021 - 2025
Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 108 of 126




                               In conclusion
                   This document was developed by a young
                 Saudi team who joined efforts in researching,
                  planning, writing, designing and delivering
                  with one purpose in mind: the prosperity of
                      our Kingdom and the whole world
           Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 109 of 126




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Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 110 of 126




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    Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 111 of 126




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Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 112 of 126




                      EXHIBIT 2

TO ALARFAJ EXPERT OPINION
Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 113 of 126




     Penal Law on Dissemination and Disclosure of
        Classified Information and Documents

                       Royal Decree No. M/35
                           April 12, 2011




                     Translation of Saudi Laws
Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 114 of 126

  Penal Law on Dissemination and Disclosure of Classified Information and Documents




NOTE:
The translation of Saudi laws takes the following into consideration:
   •    Words used in the singular form include the plural and vice versa.
   •    Words used in the masculine form include the feminine.
   •    Words used in the present tense include the present as well as the future.
   •    The word “person” or “persons” and their related pronouns (he, his, him, they,
        their, them) refer to a natural and legal person.




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Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 115 of 126

  Penal Law on Dissemination and Disclosure of Classified Information and Documents




 Penal Law on Dissemination and Disclosure of Classified Information
                          and Documents


Article 1
a) Classified Documents shall mean all types of media which contain classified
   information the disclosure of which prejudices the State's national security,
   interests, policies or rights, whether produced or received by its agencies.
b) Classified Information shall mean information an employee obtains, or is
   privy to by virtue of office, the disclosure of which undermines the State's
   national security, interests, policies, or rights.
c) The Regulations of Classified Documents and Lists which are issued by the
   National Center for Documents and Archives shall, in coordination with
   relevant entities, determine the titles, level of classification, and subject
   matter of said documents.

Article 2
A public employee or a person of a similar capacity shall not disseminate or
disclose classified information or documents which he obtains or is privy to by
virtue of office even after the end of his service, if such dissemination or
disclosure remains restricted.

Article 3
For the application of this Law, the following shall be deemed a public
employee:
1. Any person who is permanently or temporarily employed by the Government
   or by any agency of a public legal personality.
2. Any person who is assigned by a government entity or any other
   administrative authority to carry out a certain task.
3. Any person who is employed by companies or sole proprietorships which
   manage, operate, or maintain public facilities, or provide public services, as
   well as those employed by companies to whose capital the State contributes.
4. An arbiter or expert who is designated by the Government or by any other
   judicial authority.
5. Chairmen and members of board of directors of companies provided for in
   paragraph (3) of this Article.

Article 4
A classified document may not be taken outside the premises of government
entities, nor may they be circulated by any means, kept in other than the
designated places, or printed, reproduced, or photocopied outside such
entities, except in accordance with rules issued by the National Center for
Documents and Archives.


                                                                                      3
Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 116 of 126

  Penal Law on Dissemination and Disclosure of Classified Information and Documents




Article 5
Without prejudice to any harsher penalty prescribed by law, the following acts
shall be punished by imprisonment for a period not exceeding 20 years or a fine
not exceeding one million riyals, or by both penalties:
1. Disseminating or disclosing classified information or documents.
2. Entering or attempting to enter a place without authorization, with the intent
   of obtaining classified information or documents.
3. Obtaining classified information or documents by illicit means.
4. Possessing or becoming privy, by virtue of office, to official classified
   information or documents, and disclosing, communicating or disseminating
   the same without a legally justifiable reason.
5. Willfully destroying or misusing classified documents, knowing that such
   classified documents relate to the State's security or public interest, with the
   intent of undermining the State's military, political, diplomatic, economic, or
   social status.
6. Failing to maintain confidentiality of classified information or documents.

Article 6
Any person participating in any of the crimes stipulated in this Law shall be
subject to the penalties provided for in Article 5, and any person who knowingly
agrees to, instigates, or assists in committing such crimes shall be deemed an
accomplice if such crime is committed on the basis of such agreement,
instigation, or assistance.

Article 7
When imposing the penalty stipulated in Article 5 of this Law, proportionality
between crime and punishment as well as extenuating or aggravating
circumstances shall be taken into consideration. The following shall be deemed
aggravating circumstances:
1. If the crime is committed during wartime.
2. If the crime is directly or indirectly committed for the sake of a foreign state
   or any person working therefor regardless of the form or manner in which it
   was committed.
3. If the information or document is important and highly confidential.
4. If disclosure of classified information or documents results in substantial
   damage to the State.
5. If the crime is committed with the intent to prejudice the State's interest.
6. If the crime is committed by a person who holds a position the nature of which
   is confidential.
7. If the crime is committed by a person who holds a high-ranking position.



                                                                                      4
Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 117 of 126

  Penal Law on Dissemination and Disclosure of Classified Information and Documents




Article 8
The competent investigation authority shall investigate and prosecute before
the competent judicial authority the crimes provided for in this Law.

Article 9
Government entities, including security agencies, shall notify the investigation
authority if any of the crimes provided for in this Law is committed, and shall
also notify the government entity where the suspect is employed, in accordance
with Article 3 of this Law.

Article 10
The competent court shall decide on the crimes and impose the penalty
stipulated in this Law.

Article 11
The National Center for Documents and Archives shall issue the implementing
regulations of this Law within 90 days from its entry into force.

Article 12
This Law shall enter into force 90 days following its date of publication in the
Official Gazette.




                                                                                      5
Case 5:22-cv-04486-BLF Document 308-2 Filed 02/28/23 Page 118 of 126
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 119 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   1/8
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 120 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   2/8
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 121 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   3/8
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 122 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   4/8
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 123 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   5/8
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 124 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   6/8
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 125 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   7/8
1/5/23, 7:24 PM   Case 5:22-cv-04486-BLF Document 308-2‫النظام‬Filed
                                                             ‫معاينة أصل‬02/28/23 Page 126 of 126




https://laws.boe.gov.sa/BoeLaws/Laws/Viewer/99a58f5a-5436-4f4c-9349-a9a700f1744c?lawId=77d77bae-afbb-4481-a1cd-a9a700f1744b   8/8
